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    ORAL ARGUMENT SCHEDULED FOR SEPTEMBER 16, 2024

                           Case No. 24-1130
                     Consolidated With No. 24-1113

           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


            TIKTOK INC. and BYTEDANCE LTD.
                                       Petitioners,
                             v.
MERRICK B. GARLAND, in his official capacity as Attorney General of
                     the United States,
                                       Respondent.
                 (continued on inside cover)


  ON PETITION FOR REVIEW OF THE PROTECTING AMERICANS
   FROM FOREIGN ADVERSARY CONTROLLED APPLICATIONS
                      ACT (H.R. 815)


  ADDENDUM TO OPENING BRIEF OF CREATOR PETITIONERS
              VOLUME 2 of 4 (Add. 174–270)

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USCA Case #24-1113   Document #2060760         Filed: 06/20/2024   Page 2 of 100



    BRIAN FIREBAUGH, CHLOE JOY SEXTON, TALIA CADET,
 TIMOTHY MARTIN, KIERA SPANN, PAUL TRAN, CHRISTOPHER
              TOWNSEND, and STEVEN KING,
                                     Petitioners,
                                         v.
                MERRICK B. GARLAND, in his capacity
                  as United States Attorney General,
                                                     Respondent.
                                 ———————


                          BASED Politics Inc.,
                                                Petitioner,
                                    v.
MERRICK B. GARLAND, in his official capacity as Attorney General of
                    the United States,
                                               Respondent.


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                                                                 , -                     Your daily sports roundup.
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                             WORLD         U.S.    ELECTION2024               POLITICS       SPORTS         ENTERTAINMENT                   BUSINESS      SCIENCE          FACTCHECK        ODDITIES    BEWELL    NEWSLETTERS       ===             Q


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                            South Florida flooding               Israel-Hamaswar          Boeing ‘Dutch roll           Panthers beat Oilers               G7 Summi                 Teeaa     aaa itiartaeca mnt taTT                      ple) TNE =




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     Biden just signed a bill that could ban
     TikTok. His campaign plans to stay on
     the app anyway



                                                                                                                                                                                                       MAKE THE
                                                                                                                                                                                                       MOST OF THE
                                                                           Americana                                   al                                                                              ELECTIONS.
                                                                                   TikTok                                                                                                                    ‘




     The Senate passed legislation Tuesday that would force TikTok’s China-based parent company to sell the social media platform under the threat of a          Ga       Photos     4
    ban. Here's what to know.                                                                                                                                                                          Benefit from     the most
                                                                                                                                                                                                       trusted election results,
                                                                                                                                                                                                       reporting and expertise.
                                BY WILL WEISSERT
                           , _ Updated 4:02 AM UTC, April 25, 2024                                                                                               Share cy                              MAKE THIS MOMENT       COUNT



               WASHINGTON                   (AP) — When President                                        showed off his putting during a
                                                                                    in Michigan last month, the moment was                                                                             NATE                         AP
                captured on TikTok.
                                                                                                                                                                                               Suggested For You                               by Taboola
                Forced inside by a rainstorm, he competed with 13-year-old Hurley “HJ” Coleman IV to
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                  WORLD   U.S.   ELECTION2024     POLITICS    SPORTS   ENTERTAINMENT    BUSINESS   SCIENCE   FACTCHECK    ODDITIES          BEWELL           NEWSLETTERS


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           Forced inside by a rainstorm, he competed with 13-year-old Hurley “HJ” Coleman IV to
           make putts on a practice mat. The Coleman family posted video of the proceedings on
           the app — complete with Biden holing out a putt and the teen knocking his own shot
           home in response, over the caption, “I had to sink the rebuttal.”

           The network television cameras that normally follow the president were stuck outside.

           Biden signed legislation Wednesday that could ban TikTok in the U.S. while his
           campaign has embraced the platform and tried to work with influencers. Already
           struggling to maintain his previous support from younger voters, the president is now                             My Hearing Was Starting To Fade When A
           facing criticism from some avid users of the app, which researchers have found is a                               Simple Gift Changed My Life Forever.
           primary news source for a third of Americans under the age of 30.                                                 Advertisement: Hearing.Bestpricepaid.com




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                                                                                                                                     " (It's Genius)
                                                                                                                                     ement: Noctivio




           “There’s a core hypocrisy to the Biden administration supporting the TikTok ban while
           at the same time using TikTok for his campaign purposes,” said Kahlil Greene, who has
           more than 650,000 followers and is known on TikTok as the “Gen Z Historian.”




             What to know about the 2024 Election
                                                                                                                                        }            |       . = :      B=   a,
             =    Democracy: American democracy has overcome big stress tests since 2020. More                               It Shouldn't Cost You A Fortune To Have A
                  challenges lie ahead in 2024.                                                                              New Roof
                                                                                                                             Advertisement:   DaBella Roof
             .    AP’s Role: The Associated Press is the most trusted source of information on election
                  night, with a history of accuracy dating to 1848. Learn more.

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           “I think it illustrates that he and his people know the power and necessity of TikTok.”



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           Biden campaign callsonGOP            ‘Biden Bingo': The president’s         Donald Trump’s 78th birthday
           to drop lawsuits over mail           campaign adapts a classic              becomes a show of loyalty for
           ballots, citing Trump’s new          game to include malarkey and           _his fans and fellow
           fondness for it                     aviators                                Republicans



           The Biden campaign defends its approach and rejects the idea that White House policy
           is contradicting its political efforts.                                                                                                          |

           “We would be silly to write off any place where people are getting information about                                                                  y
           the president,” said Rob Flaherty, who ran the White House's Office of Digital Strategy                                              7                         -
           and now is deputy manager of Biden’s reelection campaign.                                                                                "                 | aN

           Flaherty said Biden's team forged relationships with TikTok influencers the 2020
           election and that the platform has only gotten more influential since then, “growing as
           an internet search engine and driving narratives about the president.”                                                               Get access to the most
                                                                                                                                                trusted election results,
                                                                                                                                                reporting and expertise.

                                                                                                                                                MAKE THIS MOMENT               COUNT




                                                                                                                                                AP Elections                       AP




           The Biden campaign says that an increasingly fragmented modern media environment
           requires it to meet voters where they are and that TikTok is one of many such places
           where would-be supporters see its content, in addition to platforms like WhatsApp,
           Facebook, Instagram and YouTube.

           It has produced its own TikTok content, but also relied on everyday users who interact
           with the president. That includes a post from a family that ate fries and other fixings
           from the Cook Out fast food chain when Biden recently visited Raleigh, North Carolina,
           as well as Coleman's putting video.

           Opponents of TikTok say its ownership by Chinese company ByteDance gives Beijing a
           dangerous amount of influence over what narratives Americans see as well as potential
           access to U.S. user data. Chinese national-security laws allow the ruling Communist
           Party wide latitude over private business, though the U.S. has not made public evidence
           that the Chinese government has manipulated the app or forced ByteDance to do its
           bidding.

           The law Biden signed Wednesday would force ByteDance to sell the app to a U.S.
           company within a year or face a national ban. ByteDance has argued the law violates
           the First Amendment and promised to sue.




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           Former President Donald Trump, the presumptive Republican nominee, now publicly
           opposes a TikTok ban after issuing an executive order while in office trying to ban the
                                                                                                                                                  \              =
           app if ByteDance didn't sell it.

           The White House doesn’t have an official TikTok account and Biden banned the app on                                                    Get access to the most
           most government devices in December 2022. Yet the Biden campaign also officially                                                       trusted election results,
           joined TikTok on the night of this year’s Super Bowl, as the president shunned a                                                       reporting and expertise.
           traditional gameday TV interview to instead spread a political message with the
           platform.                                                                                                                              MAKE THIS MOMENT       COUNT


           Former White House press secretary Jen Psaki convened a virtual briefing in 2022 for
           more than two dozen of the app’s influencers to discuss the U.S. approach to Ukraine, a
           gathering later parodied on “Saturday Night Live.”                                                                                     AP Elections                 AP

           There have been scores of other such events, including an influencer party at the White
           House last Christmas and a State of the Union watch party in March. During Biden's
           recent, $26 million campaign fundraiser at New York's Radio City Music Hall with
           former Presidents Barack Obama and Bill Clinton, there was an influencer happy hour
           and an after-party where attendees interacted with Biden.



                                            Risks & Definitions




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           White House press secretary Karine Jean-Pierre said that the legislation Biden signed
           “is not a ban. This is about our national security.” She added that the White House isn’t
           saying “that we do not want Americans to use TikTok.”

           TikTok has 170 million U.S. users and a study released last November by the Pew
           Research Center found that about a third of U.S. adults under 30 regularly got news
           from TikTok, compared to 14% of all adults.

           Adults under 30 are more likely than U.S. adults overall to oppose a ban on the use of




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           Adults under 30 are more likely than U.S. adults overall to oppose a ban on the use of
           TikTok in the United States, according to an AP-NORC                     pol! conducted in January.                                                ADVERTISEMENT
           Nearly half of 18- to 29-year-olds are opposed, compared to 35% of U.S. adults.


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           About 2 in 10 U.S. adults said then they use TikTok at least once a day, including 44% of                                               trusted election results,
           18- to 29-year-olds. Among 18- to 29-year-olds, 7% say they use TikTok “almost                                                          reporting and expertise.
           constantly” and an additional 28% are using it “several times a day.”
                                                                                                                                                   MAKE THIS MOMENT COUNT
           Priorities USA, a leading Democratic super PAC, is spending around $1 million this cycle
           to help fund more than 100 TikTok influencers who produce pro-Biden content ahead
           of November, and views those efforts as an extension of traditional organizing and
           communications initiatives.                                                                                                             AP Elections                 AP

           Even if TikTok is eventually banned, most of its influencers are on other platforms that
           could continue to take their content, especially YouTube and Instagram, said Danielle
           Butterfield, Priorities USA’s executive director.

           “TikTok users are online generally and that’s a lot of different places,” said Butterfield,
           who was also deputy director of digital advertising for Hillary Clinton’s 2016
           presidential campaign.

           Biden, meanwhile, has seen his standing with young people decline. About one-third of
           adults under 30 approve of how he's handling his job as president, according to an AP-
           NORC pol! conducted in March — a sharp drop from the roughly two-thirds approved
           when he first entered office.

           Greene studied history at Yale, served as the school’s first Black student body president
           and graduated in 2022. He attended past White House events as an influencer,
           including a Juneteenth celebration and a West Wing event for the Inflation Reduction
           Act, a sweeping health care and green energy package, where he met both Biden and
           Vice President Kamala Harris.

           About a year ago, however, Greene says he began posting about Biden’s championing a
           sweeping 1994 crime law that activists have long said contributed to the mass
           incarceration of racial minorities. He also criticized Biden's current administration for
           what he called “a lack of specific policy made for Black Americans.”

           Since then, while Greene continues to receive more general emails from the Biden
   (Ko     administration, he said says he’s no longer invited to more personal events while some
           “creators who fell in line, who are less critical” are still going.




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           administration,             he said says         he’s no   longer invited to more personal         events while some
           “creators who fell in line, who are less critical” are still going.

           Flaherty, Biden's deputy campaign manager, said the campaign has paid influencers in




                                                                                                                                                                    ANN
           specific instances, like when their content has been used in ads, and that some content
           creators who work with the campaign have raised concerns about legislation forcing
           divestment. But he doesn't see it having a major Election Day impact.
                                                                                                                                                                    THE RACE

           “I think young voters aren't going to vote on TikTok,” Flaherty said. “They are going to
           vote on issues, which are discussed on TikTok but they’re also discussed other places.”

           Greene, however, said young voters’ frustration with the Biden administration in other
           areas — particularly its                                                         — have combined with the TikTok
           divestment legislation to spell political problems for Biden.

           “There's no ability for me to overstate how that exacerbates the outcry,” he said, “and
           the dissatisfaction that people already have.”
                                                                                                                                                                    Get access to the most
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           Associated Press writer Linley Sanders contributed to this report.                                                                                       MAKE THIS MOMENT       COUNT




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                            Will is a national political reporter based in Washington.
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           Putin offers truce if Ukraine exits                                                  4,000-year-old Greek hilltop site
           Russian-claimed areas and drops NATO...                                              mystifies archaeologists. It could spell...
           Russian President Vladimir Putin proposed an                                         Astone building discovered on a Cretan hilltop
           immediate cease-fire in Ukraine and to begin...                                      threatens to disrupt a major airport project.
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    =     dTikTok                                                                                                                   Home        Q.   Search




           Getting started                       Vv   Eff e ct              S

          | Using TikTok                         A
            | Creating videos

              Al Self

                                                        Jump to a section
               Making a post

                                                        Effects « Filters
               Camera tools

               Effects

               Sounds
                                                        Effects
               Editing, posting, and deleting
                                                        Effects are used to customize and add details to TikTok videos. Effects can be added before or after
               TikTok Studio                            you record a video, but some are only available before recording and others are only available after.
               Editing TikTok videos and photos
                                                        For more editing options, go to our article on enhanced editing tools on TikTok .
               Duets
                                                        To record with an effect:
               Stitch                                   1. In the TikTok app, tap the Add Post + button at the bottom.
                                                        2. Tap Effects at the bottom of the camera screen.
               TikTok Stories
                                                        3. Select an effect to preview. It'll automatically be applied to your screen.
               TikTok Notes                             4. Tap anywhere to return to the camera screen and record with the effect.

               Create playlists of your videos
                                                        You can also add effects to your Favorites to find them later.
               Credit a video
                                                        To add an effect to your Favorites:
               Add Yours                                1. After tapping the Add Post + button, tap Effects and select the effect you would like to favorite.
                                                        2. Tap the Favorites button at the top of the effects panel.
               Movies and TV shows

                                                        The effect will now appear in your Favorites. To remove an effect from Favorites, go to the effect and
               Accessibility for your videos
                                                        tap the Favorites button.
               About Al-generated content


               Tools for creators

               Effect Creator Center                    Filters
               Support nonprofits on TikTok
                                                        To add a filter to your video:
             Exploring videos
                                                        1. In the TikTok app, tap the Add Post + button at the bottom.
               For You                                  2. Tap Filters on the side panel.
                                                        3. Select a filter you'd like to use. You can add a filter before and after recording or uploading your
               Friends Tab
                                                        video.
               TikTok Now                               4. Adjust the slider above the filters panel to preview different filter strengths.
                                                        5. Tap anywhere to return to the camera screen and record with the filter.
               Liking

                                                        Select Management from the filters panel to choose which filters you'd like to see appear in the app.
               Sharing


               Accessibility for watching videos


               Your favorite books

               Your favorite movies and TV
               shows


               Add songs from TikTok                    Was this helpful?



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              Your favorite movies and TV
              shows

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              Watch videos in a Series

              Donations on TikTok

              Watch videos in a     playlist



                                                       Helpful links
              How TikTok recommends content


              Cast TikTok to a TV
                                                       Creating an account
              Video downloads                          Setting up your profile
                                                       Creating a TikTok video
              Discover and search


             Messaging and notifications

              Comments

              Direct messages


              Mentions on TikTok

              Notifications

              TikTok stickers

             Followers and Following

              Following and unfollowing


              Finding friends from your
              contacts


              Removing followers

              Blocking users


              Finding your blocked list


             Growing your audience

              How to grow your audience


              Verified accounts on TikTok


              Personal and Business Accounts
              on TikTok


              Government,      Politician, and
              Political Party Accounts


              My videos aren't getting views


              How can creators earn on
              TikTok?


              Use Promote to grow your TikTok
              audience


             Report a problem


           Account and privacy                   Vv
           settings

           Safety                                v




Document title: Effects | TikTok Help Center
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Capture timestamp (UTC): Fri, 14 Jun 2024 15:31:44 GMT                                                             Page 2 of 3

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           Account and privacy
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           Log in and
           troubleshooting

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           wallet

           Monetize on TikTok




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                      English




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        A TikTok ban could also end short-form
        video as we've come to know it
        ByteDance’s CapCut editing app made it easy to edit short-form video. The legislation that could ban TikTok also applies
        to CapCut, congressional aides say.


        &           By Taylor Lorenz




                                                                                                                                         #AloneTogether



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                    With the passage of the bill that could effectively ban TikTok, ByteDance’s
                    other major product, the short-form video editor CapCut, is in jeopardy.

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                  With the passage of the bill that could effectively ban TikTok, ByteDance’s
                  other major product, the short-form video editor CapCut, is in jeopardy.

                  Multiple House aides familiar with the bill confirmed to The Washington Post
                  that it is their understanding that CapCut would be subject to the same divest-or-
                  ban requirement as TikTok.


                   Cut through the 2024 election noise. Get The Campaign Moment newsletter.                           >



                  That, in turn, could lead to the collapse of the entire short-form video
                  ecosystem, say creators, users and experts. With short-form video becoming the
                  primary way young people express themselves online, a ban of CapCut would
                  stifle self expression for millions of young people, the experts and creators note.

                     TikTok’s possible ban

                                                         The popular app TikTok is preparing to fight
                                                        for its life in court after President Biden                                MOST READ TECHNOLOGY                 >
                                                        signed a law calling for its forced sale or ban
                                                         in the United States. See how a potential ban
                                                         might affect users and when the TikTok ban
                                                         could take affect.


                      (Kiichiro Sato/AP)




                  Since relaunching in the United States in 2018, TikTok has transformed the
                  video landscape. Before then, most video content was produced in a horizontal                                    l    Sick of scams? Stop answering
                                      .        .          .                   ;                                                         your phone.
                  or square format. TikTok mainstreamed fast-paced, hyper-edited, short-form                                            .
                  vertical video. As TikTok soared in popularity, short-form video became the                                      3    Surgeon general calls for
                  dominant form of expression for millions of content creators and young users                                          social media warning labels
                  across the internet. TikTok-like short-form video features were integrated into
                  Instagram with Reels and on YouTube with YouTube Shorts. Even Netflix and                                        3    TikTok lifted this family out
                  LinkedIn have rolled out short-form, vertical content in their algorithmic                                            of public housing. See their
                                     .                                                                                                  life before and after
                  recommendation feeds.

                                                                                                                                   4.   Leaked documents reveal
                                                                                                                                        patient safety issues at
                                                                                                             Best tin                   Amazon's One Medical



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                                                                                                                                           patient safety issues at
                  Producing this content, however, is nearly impossible for the average user                                               Amazon's One Medical

                  without the suite of editing tools in TikTok’s sister video editing app, CapCut.
                  While video editing apps and platforms existed before ByteDance introduced                                               Stanford's top




                                                                                                                                                                                       1ee
                                                                                                                                           disinformation research
                  CapCut in April 2020, most were clunky, poorly designed or aimed at a more                                               group collapses under

                  professional audience, such as Adobe Premiere.                                                                           pressure




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                  CapCut changed all that.


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                                                                                                                                                             Technology
                                                                                                                                          Big Tech news and how to take control of your data
                                                                                                                                                                and   devices




                                                                                                                                        Voice assistants and Al
                                                                                                                                        chatbots still can’t say who
                                                                                                                                        won the 2020 election



                       Maryland governor to                     Closing asset loophole                   Russia’s Putin
                                                                                                                                         Leaked documents reveal
                       pardon 175,000                           could add billions to tax                North Korea, :                 patient safety issues at                               :
                       marijuana convictions in                 collections, IRS says                    growing militz                 Amazon's One Medical                                  <
                       sweeping order                                                                    cooperation

                                                                                                                                        What are all these Apple
                  The app allows any user, regardless of whether they have a TikTok account, to                                         executives doing with their
                                                                                                                                        legs?
                  easily create incredibly complex and engaging videos on their phone. It makes
                  editing tasks that previously would have taken hours of arduous work and
                                                                                                                                                       C Try a different topic
                  technical know how as easy as clicking a button or two. That’s made CapCut an
                  essential tool for small businesses, educators, content creators and anyone
                                                                                                                                       Sign in or create
                  looking to create internet-native video.                                                                             lenin               a free account to save your preferences




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                     Everything ‘Tik Tok users          Tik Tok files court                        Biden sign
                     need to know about a               challenge to U.S. law that                 ban TikTol               MOST READ
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                  “CapCut is the foundation for all the short-form vertical video on the internet,”
                  said Brendan Gahan, CEO and co-founder of Creator Authority, an influencer
                  marketing agency in Southern California. “People start on CapCut, then post on
                  YouTube Shorts, Instagram, everywhere.”                                                                       Closing asset loophole could
                                                                                                                                add billions to tax collections,
                  Sam Griffin-Ortiz, a video editor and multimedia artist in Oakland, Calif., said                              IRS says
                  he would liken CapCut’s impact on social media “to the impact of the electric


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                     .          .                      ss                                                                       Analysis | The most common
                  guitar on music in the 20th century.                                                                          job in America is an
                                                                                                                                incredible three-way tie

                  Videos created on TikTok and CapCut are “their own language,” said Nathan


                                                                                                                                                                Be,
                  Preston, who operates the meme account @Northwest_MCM_Wholesale on                                        3 Mike Johnson's     Intelligence
                                                                                                                                Committee choices anger



                                                                                                                                                                -
                  Instagram. Preston, like many Instagram creators, leverages CapCut and                                        some GOP lawmakers
                  TikTok’s suite of creative editing tools to make his videos, which he then posts
                  to other platforms.                                                                                       4   The 2024 ‘Deciders’: Who
                                                                                                                                are they and what makes         ie
                                                                                                                                them tick?
                  “I’m a trained design professional,” he said. “I have Adobe Premiere, I know
                  how to use Final Cut and all that stuff. CapCut is easier, more intuitive. We're                          =   Incoming Post editor tied to
                                                                                                                                self-described ‘thief’ who
                  losing something if it goes away. If it goes away, it will make me less inclined to
                                                                                                                                claimed role in his reporting
                  make whatever the hell I make.”


                  CapCut has become so synonymous with online videos that its pre-formatted
                  video templates frequently trend across other platforms, such as Instagram
                  Reels. “Ninety percent of the Reels I see on Instagram I can tell the exact
                  CapCut pro template they’ve used,” said Griffin-Ortiz.




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                  Michael Wong, the founder of @ AsianVerified, a humor media company that
                  operates on Instagram and YouTube, said that CapCut is essential to making
                  content that performs well online. “It’s a specific style,” he said. “You'll see ads
                  on Reddit and all over made to mimic the CapCut look.”


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                  content that performs well online. “It’s a specific style,” he said. “You'll see ads                   intel
                  on Reddit and all over made to mimic the CapCut look.”
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                  No other major social media platform offers the same suite of creative tools that                                                       UNLOCKA
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                  CapCut does, creators said. Creating captions, on-screen animations and visual                                                       WITH INTEL vPRO

                  effects are all as easy as clicking a button or two on CapCut; re-creating those
                  same effects in Adobe Premiere or After Effects (other editing platforms) would
                  take hours.


                  “If you make something natively on Instagram it looks cheugy,” said Wong,
                  using the internet slang term to mean corny and passé.


                  Lauren Moore, the founder and creator of Book Huddle, an online book
                  community, said content created in CapCut consistently outperforms content
                  made using other programs. The tools the platform offers automatically make
                  nearly any piece of content more engaging, she explained.
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                  “Most video editing tools require you to have all the assets and a vision in mind;
                                                                                                                                       LEARN MORE
                  you're really starting with a blank slate,” she said. “With CapCut, it takes you
                  about three steps ahead from that blank slate. You don’t have to be a
                  knowledgeable video editor to be able to create really effective viral content.”

                  That viral content performs particularly well outside the ByteDance ecosystem.
                  The style of editing pioneered by MrBeast, called “retention editing,” was
                  birthed from CapCut.

                  “Everyone’s using the same basic tools,” Noah Kettle, co-founder of Moke
                  Media Co., a video editing and social media monetization consultancy, told The
                  Post last month. “I’ve seen 10 to 15 creators use the exact same animated
                  money-on-screen effect, and it’s all from CapCut.”

                  CapCut users are scrambling since news of the potential TikTok ban broke.
                  Some said they were worried they wouldn't be able to continue to make videos
                  without access to CapCut.


                  “There’s a unique form of artistry that CapCut enables,” said Moore. “Social
                  media is all about connection, and a really big part of connecting with other
                  people is creating content that elicits an emotional reaction or shows an
                  emotional side of yourself. By using cap cuts tools, you can quickly and easily
                  create a video to demonstrate what’s on your mind, or how you're feeling about
                  things, and that is going to be so much harder to do if we don’t have CapCut at
                  our disposal.”


                  Many creators spoke about the potential removal of these creative tools as if
                  there were suddenly a ban on language. They said that while older people seem

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                  Many creators spoke about the potential removal of these creative tools as if                            intel
                  there were suddenly a ban on language. They said that while older people seem                           CORE
                  to harbor a hostility toward short form, highly edited video, it has become an                           Uma7
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                  essential mode of expression.                                                                                                          DEFINITIVEAl PC
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                  “Tt’s like you’re taking away a language from people,” said Griffin-Ortiz.
                  “Banning CapCut would be the book burning of the digital age. I think we'll
                  look back on this time and history and see it in a lens very similar to book
                  burnings.”


                  Creators who are immersed in the short form online video world said that
                  reverting to previous tools would feel like a step back.


                  “CapCut has transformed the way a lot of content creators create video online,”
                  said Connor Clary, a Gen Z content creator and potter in Kansas City, Mo.
                  “Before CapCut existed, short-form video was a lot simpler. It was a lot of
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                  basic, one take videos. CapCut elevated vertical video.”
                                                                                                                                         LEARN MORE
                  Len Necefer, who runs the Instagram account @sonoran.avalance.center aimed
                  at raising awareness around the climate crisis, said that CapCut is a crucial tool
                  when it comes to creating pieces of media that feel native to young people.
                  “CapCut allows me to craft videos and messaging in a style that reaches Gen Z
                  voters,” he said. “We’ve been doing voter outreach and turning out the vote, and
                  that’s where we’ve used CapCut the most. It allows us to target the younger
                  audience in a more playful way.”

                  While TikTok is the law’s main focus, the terms of the legislation are written to
                  apply to any app that qualifies as a “foreign adversary controlled application.”
                  The law defines a foreign adversary controlled application as any app that’s
                  operated by ByteDance, TikTok, or a subsidiary of either of the two — which
                  would presumably include CapCut.


                  CapCut has so far received relatively little mention in the debate surrounding
                  the TikTok ban. Rep. Cathy McMorris Rodgers (R-Wash.), one of the bill’s
                  architects, did mention it twice in her opening statements at a March hearing of
                  the House Energy and Commerce Committee, claiming that CapCut is subject
                  to the influence of the Chinese Communist Party, though she provided no
                  evidence to support her claims.


                  Gahan said the TikTok ban is drastic, but cutting off CapCut could have just as
                  far-reaching impact on the online landscape.


                  If a CapCut ban were to pass alongside TikTok, “there’s a mode of self
                  expression that’s going to be disappearing from the internet,” he said.


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                  CapCut has so far received relatively little mention in the debate surrounding
                  the TikTok ban. Rep. Cathy McMorris Rodgers (R-Wash.), one of the bill’s
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                  architects, did mention it twice in her opening statements at a March hearing of
                  the House Energy and Commerce Committee, claiming that CapCut is subject
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                  to the influence of the Chinese Communist Party, though she provided no                                                                                                  DEFINITIVEAl PC
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                  evidence to support her claims.                                                                                                                                          WITH INTEL vPRO



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                  far-reaching impact on the online landscape.

                  If a CapCut ban were to pass alongside TikTok, “there’s a mode of self
                  expression that’s going to be disappearing from the internet,” he said.



                        Possible TikTok ban

                        President Biden announced              he has signed legislation to ban or force a sale of TikTok
                        after Congress passed legislation to ban or force a sale of TikTok, delivering a historic
                        rebuke of the video-sharing platform's Chinese ownership.
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                        What the bill does: The bill, which saw bipartisan support in the House and Senate,
                        would require the social media app’s Chinese parent company, ByteDance, to sell off                                                                LEARN MORE
                        the immensely popular app or face a nationwide ban. Here’s what you should know
                        about the potential ban.

                        What’s    next: The provision gives ByteDance                roughly nine months to sell the wildly
                                      or   face   a national      ban.   a    deadline   Biden   could    extend   the      deadline by     90




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                              By Taylor Lorenz
                              Taylor Lorenz is a columnist at The Washington Post covering technology and online culture.
                              Before joining The Post, she was a technology reporter for the New York Times. Previously, she
                              was a technology reporter at the Atlantic and the Daily Beast.



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    =     dTikTok

            All                                        Jun 18, 2020                                                                      Share this post
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            Product

            Community
                                       How TikTok
            Safety                     recommends videos
            Company
                                       #ForYou
                  United States
                                       TikTok's mission is to inspire creativity and bring joy. We're building a global community
                                       where you can create and share authentically, discover the world, and connect with
                                       others. The For You feed is part of what enables that connection and discovery. It's
                                       central to the TikTok experience and where most of our users spend their time.

                                       When you open TikTok and land in your For You feed, you're presented with a stream of
                                       videos curated to your interests, making it easy to find content and creators you love.
                                       This feed is powered by a recommendation system that delivers content to each user
                                       that is likely to be of interest to that particular user. Part of the magic of TikTok is that
                                       there's no one For You feed — while different people may come upon some of the same
                                       standout videos, each person's feed is unique and tailored to that specific individual.

                                       The For You feed is one of the defining features of the TikTok platform, but we know
                                       there are questions about how recommendations are delivered to your feed. In this post
                                       we'll explain the recommendation system behind the For You feed, discuss how we work
                                       to counter some of the issues that all recommendation services can grapple with, and
                                       share tips for how you can personalize your discovery experience on TikTok.

                                       The basics about recommendation systems

                                       Recommendation systems are all around us. They power many of the services we use
                                       and love every day. From shopping to streaming to search engines, recommendation
                                       systems are designed to help people have a more personalized experience.

                                       In general, these systems suggest content after taking into account user preferences as
                                       expressed through interactions with the app, like posting a comment or following an
                                       account. These signals help the recommendation system gauge the content you like as
                                       well as the content you'd prefer to skip.

                                       What factors contribute to For You?

                                       On TikTok, the For You feed reflects preferences unique to each user. The system
                                       recommends content by ranking videos based on a combination of factors — starting
                                       from interests you express as a new user and adjusting for things you indicate you're not
                                       interested in, too — to form your personalized For You feed.

                                       Recommendations are based on a number of factors, including things like:

                                       ¢   User interactions such as the videos you like or share, accounts you follow,
                                           comments you post, and content you create.

                                       ¢   Video information, which might include details like captions, sounds, and
                                           hashtags.


                                       ¢   Device and account settings like your language preference, country setting, and
                                           device type. These factors are included to make sure the system is optimized for
                                           performance, but they receive lower weight in the recommendation system
                                           relative to other data points we measure since users don't actively express these
                                           as preferences.

                                       All these factors are processed by our recommendation system and weighted based on




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                                          device type. These factors are included to make sure the system is optimized for
                                          performance, but they receive lower weight in the recommendation system
                                          relative to other data points we measure since users don't actively express these
                                          as preferences.

                                       All these factors are processed by our recommendation system and weighted based on
                                       their value to a user. A strong indicator of interest, such as whether a user finishes
                                       watching a longer video from beginning to end, would receive greater weight than a
                                       weak indicator, such as whether the video's viewer and creator are both in the same
                                       country. Videos are then ranked to determine the likelihood of a user's interest in a piece
                                       of content, and delivered to each unique For You feed.

                                       While a video is likely to receive more views if posted by an account that has more
                                       followers, by virtue of that account having built up a larger follower base, neither follower
                                       count nor whether the account has had previous high-performing videos are direct
                                       factors in the recommendation system.

                                       Curating your personalized For You feed

                                       Getting started

                                       How can you possibly know what you like on TikTok when you've only just started on the
                                       app? To help kick things off we invite new users to select categories of interest, like pets
                                       or travel, to help tailor recommendations to their preferences. This allows the app to
                                       develop an initial feed, and it will start to polish recommendations based on your
                                       interactions with an early set of videos.

                                       For users who don't select categories, we start by offering you a generalized feed of
                                       popular videos to get the ball rolling. Your first set of likes, comments, and replays will
                                       initiate an early round of recommendations as the system begins to learn more about
                                       your content tastes.

                                       Finding more of what you're interested in

                                       Every new interaction helps the system learn about your interests and suggest content -
                                       so the best way to curate your For You feed is to simply use and enjoy the app. Over
                                       time, your For You feed should increasingly be able to surface recommendations that are
                                       relevant to your interests.

                                       Your For You feed isn't only shaped by your engagement through the feed itself. When
                                       you decide to follow new accounts, for example, that action will help refine your
                                       recommendations too, as will exploring hashtags, sounds, effects, and trending topics on
                                       the Discover tab. All of these are ways to tailor your experience and invite new
                                       categories of content into your feed.

                                       Seeing less of what you're not interested in

                                       TikTok is home to creators with many different interests and perspectives, and
                                       sometimes you may come across a video that isn't quite to your taste. Just like you can
                                       long-press to add a video to your favorites, you can simply long-press on a video and tap
                                       "Not Interested" to indicate that you don't care for a particular video. You can also
                                       choose to hide videos from a given creator or made with a certain sound, or report a
                                       video that seems out of line with our guidelines. All these actions contribute to future
                                       recommendations in your For You feed.

                                       Addressing the challenges of recommendation engines

                                       One of the inherent challenges with recommendation engines is that they can
                                       inadvertently limit your experience — what is sometimes referred to as a "filter bubble."
                                       By optimizing for personalization and relevance, there is a risk of presenting an
                                       increasingly homogenous stream of videos. This is a concern we take seriously as we
                                       maintain our recommendation system.

                                       Interrupting repetitive patterns

                                       To keep your For You feed interesting and varied, our recommendation system works to




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    =     dTikTok
                                       By optimizing for personalization and relevance, there is a risk of presenting an
                                       increasingly homogenous stream of videos. This is a concern we take seriously as we
                                       maintain our recommendation system.

                                       Interrupting repetitive patterns

                                       To keep your For You feed interesting and varied, our recommendation system works to
                                       intersperse diverse types of content along with those you already know you love. For
                                       example, your For You feed generally won't show two videos in a row made with the
                                       same sound or by the same creator. We also don't recommend duplicated content,
                                       content you've already seen before, or any content that's considered spam. However,
                                       you might be recommended a video that's been well received by other users who share
                                       similar interests.

                                       Diversifying recommendations

                                       Diversity is essential to maintaining a thriving global community, and it brings the many
                                       corners of TikTok closer together. To that end, sometimes you may come across a video
                                       in your feed that doesn't appear to be relevant to your expressed interests or have
                                       amassed a huge number of likes. This is an important and intentional component of our
                                       approach to recommendation: bringing a diversity of videos into your For You feed gives
                                       you additional opportunities to stumble upon new content categories, discover new
                                       creators, and experience new perspectives and ideas as you scroll through your feed.

                                       By offering different videos from time to time, the system is also able to get a better
                                       sense of what's popular among a wider range of audiences to help provide other TikTok
                                       users a great experience, too. Our goal is to find balance between suggesting content
                                       that's relevant to you while also helping you find content and creators that encourage
                                       you to explore experiences you might not otherwise see.

                                       Safeguarding the viewing experience

                                       Our recommendation system is also designed with safety as a consideration. Reviewed
                                       content found to depict things like graphic medical procedures or legal consumption of
                                       regulated goods, for example — which may be shocking if surfaced as a recommended
                                       video to a general audience that hasn't opted in to such content — may not be eligible for
                                       recommendation. Similarly, videos that have just been uploaded or are under review, and
                                       spam content such as videos seeking to artificially increase traffic, also may be ineligible
                                       for recommendation into anyone's For You feed.

                                       Improving For You

                                       Developing and maintaining TikTok's recommendation system is a continuous process as
                                       we work to refine accuracy, adjust models, and reassess the factors and weights that
                                       contribute to recommendations based on feedback from users, research, and data. We
                                       are committed to further research and investment as we work to build in even more
                                       protections against the engagement bias that can affect any recommendation system.

                                       This work spans many teams — including product, safety, and security - whose work
                                       helps improve the relevance of the recommendation system and its accuracy in
                                       suggesting content and categories you're more likely to enjoy.

                                       Ultimately, your For You feed is powered by your feedback: the system is designed to
                                       continuously improve, correct, and learn from your own engagement with the platform to
                                       produce personalized recommendations that we hope inspire creativity and bring joy
                                       with every refresh of your For You feed.

                                       Note: At the Tiklok Transparency Center in Los Angeles, invited experts will have the
                                       opportunity to learn how our algorithm operates along with reviewing TikTok source
                                       code, which will be made available at the center for testing and evaluation.




                               News    Jun   18, 2024




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          do TikTok




                             |     News   |



                                 TikTok ushers in a new era of
                                 creative bravery at Cannes Lions
                                 Festival showing marketers how to
                                 boost returns on creative
                                 Creative freedom and experimentation are the most critical tools in
                                 today's marketing arsenal to thrive and meet audiences where they are...




                                 Meet Symphony Avatars: TikTok's                                                                                     TikTok
                                 New Creative Al Tool
                                                                                                                                           ca         Symphony
                                 Creativity thrives on TikTok. When    brands truly lean into creative bravery
                                 and experimentation, they are able to speak directly to their communit...




                             |     News   |



                                 Announcing Off the Record: A New
                                 TikTok Series Featuring Today’s Top
                                 Artists
                                 Behind-the-scenes content series providing an inside look at making an
                                 album Today, TikTok is unveiling Off the Record, a new series that..




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                                 boost returns on creative
                                 Creative freedom and experimentation are the most critical tools in
                                 today's marketing arsenal to thrive and meet audiences where they are...




                                 Meet Symphony Avatars: TikTok's                                                                           TikTok
                                 New Creative Al Tool                                                                                      Symphony
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                                 and experimentation, they are able to speak directly to their communit...




                             |     News   |



                                 Announcing Off the Record: A New
                                 TikTok Series Featuring Today’s Top
                                 Artists
                                 Behind-the-scenes content series providing an inside look at making an
                                 album Today, TikTok is unveiling Off the Record, a new series that...




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                                                       Newsroom                            TikTok for Developers        ST      meals

                                                       Contact                             Effect House                 Creator Portal

                                                       Careers                             Advertise on TikTok          Community Guidelines

                                                                                           TikTok Rewards               Belt eres

                                                                                           TikTok Browse                Accessibility

                                                                                           TikTok Embeds




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                 EXHIBIT 13




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           Getting started                      Vv

           Using TikTok                         “A
                                                     How TikTok recommends
            Creating videos                          content
              Al Self


              Making a post


              Camera tools                            Jump to a section
              Effects
                                                      What are recommender systems? e« How content is recommended across TikTok e Other factors that
                                                      influence how TikTok recommends content e How you can influence what you see on TikTok
              Sounds


              Editing, posting, and deleting


              TikTok Studio


              Editing TikTok videos and photos        What are recommender systems?
              Duets
                                                      TikTok's mission is to inspire creativity and bring joy. We have a wide variety of content and we want
              Stitch                                  you to discover interesting and relevant videos. That's why we use recommender systems to offer
                                                      you a personalized experience. These systems suggest content based on your preferences as
              TikTok Stories                          expressed through interactions on TikTok, such as following an account or liking a post.

              TikTok Notes
                                                      When you first sign up for TikTok, we may invite you to select categories of interest, like pets or
              Create playlists of your videos         travel, which help us form your For You and LIVE feeds. If you don't select any categories of interest,
                                                      we start by offering you a feed of recent videos that are popular with others on TikTok. When
              Credit a video                          selecting your initial set of videos, the recommender system looks for popular videos that are
                                                      appropriate for a broad audience and influenced by your location and language settings. In addition
              Add Yours
                                                      to categories, we'll suggest popular creators for you to follow. If you don't select any followers or
              Movies and TV shows                     have any friends on TikTok, then you may not see content in your Friends Tab or Following feed.

              Accessibility for your videos           Once you start interacting on the app, your interactions act as signals that help the recommender
                                                      system predict content you're more likely to be interested in as well as the content you might be less
              About Al-generated content
                                                      interested in and may prefer to skip. Your interactions across TikTok can impact how the system ranks
              Tools for creators                      and serves you content.

              Effect Creator Center


              Support nonprofits on TikTok


            Exploring videos
                                                      How content is recommended across TikTok
              For You

                                                      We recommend content based on several factors to predict how relevant and interesting content
              Friends Tab
                                                      might be to a user. The three main factors are user interactions, content information, and user

              TikTok Now
                                                      information.

              Liking                                  Each recommender system selects from a large collection of eligible content and ranks them based
                                                      on the system's prediction of how likely you'll be interested in each one. In certain recommender
              Sharing
                                                      systems, these predictions are also influenced by the interactions of other people on TikTok who

              Accessibility for watching videos
                                                      appear to have similar interests. For example, if User A likes videos 1, 2, and 3 and User B likes videos
                                                      1,2, 3, 4, and 5, the recommender system may predict User A will also like videos 4 and 5. While
              Your favorite books                     some may see the same content, features like the For You, Following, Friends, and LIVE feeds are
                                                      unique to each person.
              Your favorite movies and TV
              shows
                                                      You can view content through several feeds and features, which we continually improve and expand
              Add songs from TikTok
                                                      over time. Below, we've provided some popular examples.




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Capture URL: https://support.tiktok.com/en/using-tiktok/exploring-videos/how-tiktok-recommends-content
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              Your favorite books                      some may see the same content, features like the For You, Following, Friends, and LIVE feeds are
                                                       unique to each person.
              Your favorite movies and TV
              shows
                                                       You can view content through several feeds and features, which we continually improve and expand
              Add songs from TikTok                    over time. Below, we've provided some popular examples.

              Watch videos in a Series                 For You
                                                       The For You feed displays a stream of content just for you, so you can find content and creators you
              Donations on TikTok
                                                       love.
              Watch videos in a playlist
                                                       Factors that may influence your For You feed include:
              How TikTok recommends content            « User interactions: Content you like, share, comment on, and watch in full or skip, as well as
                                                       accounts of followers that you follow back.
              Cast TikTok to a TV
                                                       « Content information: Sounds, hashtags, number of views, and the country the content was

              Video downloads                          published.
                                                       e User information: Device settings, language preference, location, time zone and day, and device
              Discover and search                      type.
            Messaging and notifications
                                                       These factors help us predict how relevant and interesting content might be to a user. Different
              Comments                                 factors can play a larger or smaller role in what's recommended, and the importance—or weighting—
                                                       of a factor can change over time. For many users, the time spent watching a specific video is
              Direct messages                          generally weighted more heavily than other factors.

              Mentions on TikTok
                                                       Following
              Notifications                            The Following feed displays content from creators you follow. Each Following feed is unique—even
                                                       when two users follow the same set of creators, each feed will rank and serve content in a way that is
              TikTok stickers                          tailored to how you use TikTok.

            Followers and Following
                                                       Factors that may influence your Following feed include:
              Following and unfollowing                « User interactions: Visits to the user profiles you follow and the content you like, share, comment on,
                                                       and watch in full or skip.
              Finding friends from your
                                                       « Content information: Sounds, hashtags, number of video views, and the country the content was
              contacts
                                                       published.
              Removing followers
                                                       « User information: Device settings, language preference, location, time zone and day, and device
                                                       type.
              Blocking users
                                                       These factors help us predict how relevant and interesting content might be to a user. Different
              Finding your blocked list
                                                       factors can play a larger or smaller role in what's recommended, and the importance—or weighting—
            Growing your audience
                                                       of a factor can change over time. For many users, the time spent watching specific videos is generally
                                                       weighted more heavily than other factors.
              How to grow your audience

                                                       Friends
              Verified accounts on TikTok
                                                       The Friends Tab displays content from followers that you follow back (your friends), accounts you
              Personal and Business Accounts           follow, and other suggested accounts. Even when two users follow the same set of creators, their
              on TikTok                                Friends Tab will rank and serve content in a way that is unique to each person.

              Government,      Politician, and         Factors that may influence the Friends Tab include:
              Political Party Accounts                 « User interactions: Visits to the profiles of your friends or people you may know and the content you
                                                       like, share, comment on, and watch in full or skip.
              My videos aren't getting views
                                                       « Content information: Sounds, hashtags, number of video views, and the country the content was
              How can creators earn on                 published.
              TikTok?                                  « User information: Device settings, contacts (with your permission), language preference, location,
                                                       time zone and day, and device type.
              Use Promote to grow your TikTok
              audience                                 These factors help us predict how relevant and interesting content might be to a viewer. Different
                                                       factors can play a larger or smaller role in what's recommended, and the importance—or weighting—
            Report a problem
                                                       of a factor can change over time. For many users, likes and comments on a video are generally
                                                       weighted more heavily than other factors.
           Account and privacy                   Vv
           settings
                                                       LIVE




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    =     dTikTok                                                                                                            Home         Q_   Search

              audience                              These factors help us predict how relevant and interesting content might be to a viewer. Different
                                                    factors can play a larger or smaller role in what's recommended, and the importance—or weighting—
            Report a problem
                                                    of a factor can change over time. For many users, likes and comments on a video are generally
                                                    weighted more heavily than other factors.
           Account and privacy
           settings
                                                    LIVE
                                                    The LIVE feed displays a stream of LIVE videos that allows you to find content and creators you love.
           Safety
                                                    You can view LIVE videos by selecting the LIVE button at the top of the For You feed, or you may see
                                                    recommended LIVE videos in your For You Feed.
           Log in and
           troubleshooting                          Factors that may influence your LIVE feed include:
                                                    « User interactions: LIVE videos you like and comment on, creators you follow, watch time, and Gifts
           TikTok LIVE, Gifts, and                  sent.
                                       <




           wallet                                   « Content information: Hashtags, number of LIVE views, number of likes, number of Gifts sent,
                                                    number of followers of that creator, and the country in which the LIVE is taking place.
           Monetize on TikTok                       « User information: Device settings, language preference, location, time zone and day, and device
                                       <




                                                    type.
                                                    These factors help us predict how relevant and interesting content might be to a user. Different
                                                    factors can play a larger or smaller role in what's recommended, and the importance—or weighting—
                                                    of a factor can change over time. For many users, the time spent watching a specific LIVE is generally
                                                    weighted more heavily than other factors.

                                                    Search
                                                    Our search feature allows you to search for content on TikTok. It also recommends search terms for
                                                    you to discover content.

                                                    Factors that may influence your search results include:
                                                    « User interactions: Your past search behavior and the content you like, share, comment on, and
                                                    watch in full or skip.
                                                    « Content information: How relevant the content is to your search, hashtags, and the sound used.
                                                    « User information: Device settings, language preference, and location.

                                                    These factors help us predict how relevant and interesting content might be to a viewer. Different
                                                    factors can play a larger or smaller role in what's recommended, and the importance—or weighting—
                                                    of a factor can change over time. For many users, how relevant the content is to the specific term
                                                    entered is generally weighted more heavily than other factors.

                                                    Comments
                                                    We recommend comments on posts that we think you'll be interested in and to build connections
                                                    within the TikTok community.

                                                    Factors that may influence what comments we show you:
                                                    « User interactions: Comments you like, reply to, and if you follow the video creator or author of the
                                                    comment.
                                                    « Content information: Number of likes and the language of the comment.
                                                    « User information: Your location and language preference, and device settings.

                                                    Different factors can play a larger or smaller role in what's recommended, and the importance—or
                                                    weighting—of a factor can change over time. For many users, the language of the comment and how
                                                    many likes it has are generally weighted more heavily than other factors.

                                                    Notifications
                                                    We'll send you notifications to recommend content you might like, people you might know, or search
                                                    terms you might be interested in.

                                                    Factors that may influence what notifications we send you:
                                                    « User interactions: How active you've been on TikTok and your previous interactions with
                                                    notifications.
                                                    « Content information: Creator of the content, hashtags, number of views, and the country the




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    =     dTikTok                                                                                                             Home         Q_   Search


                                                    terms you might be interested in.

                                                    Factors that may influence what notifications we send you:
                                                    « User interactions: How active you've been on TikTok and your previous interactions with
                                                    notifications.
                                                    ¢ Content information: Creator of the content, hashtags, number of views, and the country the
                                                    content was published.
                                                    « User information: Your location, language preference, and device type.

                                                    Different factors can play a larger or smaller role in what's recommended, and the importance—or
                                                    weighting—of a factor can change over time. For many users, the number of notifications you receive
                                                    and open is generally weighted more heavily than other factors.

                                                    Account recommendations
                                                    On TikTok, you can connect with people you may know and creators that might interest you, based on
                                                    who you're already engaging with.

                                                    Factors that may influence your account recommendations include:
                                                    « User interactions: Your activity on TikTok, such as the types of accounts you follow, like, or share
                                                    content with.
                                                    « Content information: Number of followers and views an account has, account location, and the
                                                    likelihood that you know another user, for example if they're in your contacts (with your permission).
                                                    « User information: Device settings, language preference, and location.

                                                    Different factors can play a larger or smaller role in what's recommended, and the importance—or
                                                    weighting—of a factor can change over time. For many users, the number of mutual connections
                                                    between two accounts is generally weighted more heavily than other factors.




                                                    Other factors that influence how TikTok recommends content

                                                    Diversifying recommendations
                                                    When you view content in your Friends Tab, For You, Following, and LIVE feeds, our goal is to find a
                                                    balance between suggesting content that's relevant to you while also allowing you to discover new
                                                    and diverse content and creators, and experience new perspectives and ideas. That's why you may
                                                    come across content in your For You and LIVE feeds that doesn't appear to be relevant to your
                                                    expressed interests. We typically don't recommend content you've already seen and we'll encourage
                                                    you to explore different categories of content and creators through recommendations.

                                                    Similarly with your Friends Tab and Following feed, you may see multiple videos from the same
                                                    creator, but we generally won't recommend two videos in a row from that creator. If you follow only
                                                    them, then we may recommend multiple videos in a row. If you run out of videos to watch on your
                                                    Friends Tab or Following feed, then we'll suggest for you to explore videos on your For You feed.

                                                    Safeguarding your experience
                                                    Our recommender systems are designed with safety as a key consideration and we remove any
                                                    content identified as violating our Community Guidelines.

                                                    Our safety team takes additional precautions to review content as they rise in popularity to reduce
                                                    the likelihood of recommending content that may not be suitable for everyone on TikTok. For
                                                    example, we strive to not recommend—or to limit the recommendation of—certain categories of
                                                    content that may not be suitable for a general audience, even if that content is not removed from
                                                    TikTok altogether. We continually review LIVE videos to interrupt and stop LIVE content that violates
                                                    our Community Guidelines. We may also restrict creators from going LIVE who violate our Community
                                                    Guidelines. Users under the age of 18 are not permitted to host a LIVE or to send Gifts, and are
                                                    restricted from watching certain LIVE videos. Learn more about age-restricted content on LIVE.

                                                    Your can learn more ahout aur standards an content elinihilitv in aur Cammunitv    Guidelines




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                                                    CONTENT That May NOT be sultaple Tor a general auaience, even IT tnat content Is not removed Trom
                                                    TikTok altogether. We continually review LIVE videos to interrupt and stop LIVE content that violates
                                                    our Community Guidelines. We may also restrict creators from going LIVE who violate our Community
                                                    Guidelines. Users under the age of 18 are not permitted to host a LIVE or to send Gifts, and are
                                                    restricted from watching certain LIVE videos. Learn more about age-restricted content on LIVE.

                                                    You can learn more about our standards on content eligibility in our Community Guidelines.




                                                    How you can influence what you see on TikTok

                                                    For You
                                                    In addition to selecting categories of interest when you sign up for TikTok, you can use the following
                                                    features to help shape your For You feed:
                                                    « Not interested: If you don't enjoy a specific piece of content you can let us know by sharing
                                                    feedback that you're not interested in and we'll show you fewer content like it.
                                                    ¢ Filter video keywords: Filter out specific words or hashtags from the content recommended to you
                                                    in your For You and Following feeds.

                                                    If the recommendations on your For You feed don't feel relevant to you anymore, or you're looking for
                                                    more variety in your feed, you can refresh your For You feed to view a new set of popular content, as
                                                    if you've just signed up for TikTok.

                                                    Following
                                                    Use the following features to help shape your following feed:
                                                    « Unfollow: Unfollowing a creator can directly remove the creator's posts in the Following feed.
                                                    « Filter video keywords: Filter out specific words or hashtags from the content preferences section in
                                                    your settings to stop seeing content with those keywords in your For You and Following feeds.

                                                    Friends
                                                    Use the following features to help shape your Friends Tab:
                                                    « Unfollow: Unfollowing the creator or friend could remove the posts from that account in the Friends
                                                    Tab.
                                                    « Not interested: If you don't enjoy recommended content from people you may know based on
                                                    suggested accounts, you can let us know by sharing feedback that you're not interested and we'll
                                                    show you fewer content from that creator.

                                                    LIVE
                                                    In addition to selecting categories of interest when you sign up for TikTok, you can use the following
                                                    features to help shape your LIVE feed:
                                                    ¢ Not interested: If you don't enjoy a specific piece of LIVE content, you can let us know by sharing
                                                    feedback that you're not interested and we'll show you fewer content from that creator.

                                                    Comments
                                                    Let us know if you're not interested in a comment by disliking it within the comments section of a
                                                    post.

                                                    Notifications
                                                    Manage notifications in your settings to choose what type of notifications you'd like to receive for
                                                    suggested posts. Turn all notifications off or choose which interactions you'd like to receive
                                                    notifications for.

                                                    Account recommendations
                                                    Use the following features to help shape your account recommendations:
                                                    e Unsync your contacts: Remove previously synced contacts or turn off synced contacts in your
                                                    privacy settings.
                                                    « Remove suggested accounts: When we recommend accounts for you to follow, you can remove it
                                                    from the suggested list to let us know you're not interested.




Document title: How TikTok recommends content | TikTok Help Center
Capture URL: https://support.tiktok.com/en/using-tiktok/exploring-videos/how-tiktok-recommends-content
Capture timestamp (UTC): Mon, 17 Jun 2024 19:04:58 GMT                                                                                                       Page 5 of 6

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    =     dTikTok                                                                                                                                 Home     Q Sea
                                                    FEALVIES    LW   TEI   Slidpe   yUuur   LIVE   IeeU.

                                                    « Not interested: If you don't enjoy a specific piece of LIVE content, you can let us know by sharing
                                                    feedback that you're not interested and we'll show you fewer content from that creator.


                                                    Comments
                                                    Let us know if you're not interested in a comment               by disliking it within the comments section of a
                                                    post.


                                                    Notifications
                                                    Manage notifications in your settings to choose what type of notifications you'd like to receive for
                                                    suggested posts. Turn all notifications off or choose which interactions you'd like to receive
                                                    notifications for.


                                                    Account recommendations
                                                    Use the following features to help shape your account recommendations:
                                                    « Unsync your contacts: Remove                 previously synced contacts or turn off synced contacts in you!
                                                    privacy settings.
                                                    « Remove         suggested accounts: When we recommend               accounts for you to follow, you can remove it
                                                    from the suggested list to let Us know you're not interested.




                                                    Was this helpful?




                                                    Helpful links
                                                    Creating an account
                                                    Setting up your profile
                                                    Creating a TikTok video




                   a)   TikTo       "4           Company                                    Programs                         Resources                        Rte)
                                                 About TikTok                               TikTok for Good                  eee once                         Terms of Service

                                                 Newsroom                                   TikTok for Developers            FCO             Cs

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                                                 Careers                                    Advertise on TikTok              Community Guidelines

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                                                                                            TikTok Browse                    Accessibility

                                                                                            TikTok Embeds




                     English




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News      Opinion         Sport         Culture   Lifestyle




The TikTok takeover

 This article is more than 1 year old


How TikTok’s algorithm
made it a success: ‘It pushes
the boundaries’
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The company’s secret sauce is what
populates its For You Page, which predicts
the videos that will pique a viewer’s
interest
  Read the new Guardian series exploring
  the increasing power and reach of
  TikTok
By Alex Hern
Mon 24 Oct 2022 01.00 EDT




I
       t is, quite literally, the trillion dollar question: how did TikTok go from a
       niche social network for lip-syncing teens to the most popular app in
       the western world, threatening to knock Facebook o its perch entirely,
                                                              ff
       in just a few short years?

There are no end of possible answers, and TikTok owes its phenomenal
success to a host of canny choices: easy-to-use video creation tools blurred
the line between creator and consumer far more than YouTube had ever
managed; a vast library of licensed music allowed teens to soundtrack their
clips without fear of copyright strikes; a billion-dollar advertising campaign
across Facebook and Instagram bought new users as quickly as Zuckerberg’s
company would send them over.

But the most powerful tool TikTok has to grab users and keep them hooked is
the company’s feted “For You Page”, the FYP, and the algorithm that
populates it.




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    TikTok’s For You Page has the ability to grab users and keep them hooked. Photograph: Martin
    Meissner/AP

    The FYP is the default screen new users see when opening the app. Even if
    you don’t follow a single other account, you’ll nd it immediately populated
                                                              fi
    with a never-ending stream of short clips culled from what’s popular across
    the service. That decision already gave the company a leg up compared to
    the competition: a Facebook or Twitter account with no friends or followers
    is a lonely, barren place, but TikTok is engaging from day one.

    It’s what happens next that is the company’s secret sauce, though. As you
    scroll through the FYP, the makeup of videos you’re presented with slowly
    begins to change, until, the app’s regular users say, it becomes almost
    uncannily good at predicting what videos from around the site are going to
    pique your interest.

    The company is disarmingly open about how that algorithm works – at least,
    on the surface. “Recommendations are based on a number of factors,” it said
    in 2020, “including things like user interactions such as the videos you like or
    share, accounts you follow, comments you post, and content you create;
    video information, which might include details like captions, sounds, and
    hashtags; [and] device and account settings like your language preference,
    country setting, and device type.”

    But how those various inputs are weighted, and what precise factors lead any
    particular video to end up on your feed, is opaque, says Chris Stokel-Walker,
    author of TikTok Boom. “One person at TikTok in charge of trying to track
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    what goes viral and why told me in my book that ‘There’s no recipe for it,
    there’s no magic formula.’ The employee even admitted that ‘It’s a question I
    don’t think even the algo team have the answer to. It’s just so sophisticated.’”

    One crucial innovation is that, unlike older recommendation algorithms,
    TikTok doesn’t just wait for the user to indicate that they like a video with a
    thumbs up, or satisfy itself by judging what a user chooses to view. Instead, it
    appears to actively test its own predictions, experimenting by showing
    videos that it thinks might be enjoyable and gauging the response. “It pushes
    the boundaries of your interests and monitors how you engage with those
    new videos it seeds in your For You Page,” Stokel-Walker says. “If it thinks
    you like videos about Formula One, it might show you some videos about
    supercars.”




    TikTok creators, such as Gabby Murray, in Palm Beach, Florida, had amassed 8.5 million followers in
    2021. Photograph: Bloomberg/Getty Images


    That experimentation doesn’t just allow the service to rapidly discern the
    contours of an individual viewer’s interests, it’s also an important part of
    what the site o ers creators, says Sascha Morgan-Evans, head of the TikTok
                      ff
    studio at creative agency OK COOL. “Every video posted on TikTok gets
    served to at least one person on the For You Page. We’ve gured out, based
                                                                            fi
    on how views accumulate, that TikTok serves each individual video to
    batches of people. The number of users in these batches increases with each
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successful round, one where a majority of users within a batch had a high
number of positive interactions with the video.”

That means that every user has the chance of global fame. Even if you have
no followers at all, your video will eventually make it on to someone’s For
You Page, and if they are deemed to have engaged positively, you can reach
thousands or millions of viewers extremely quickly. And the speed of the
videos helps TikTok hone its data rapidly: “Think about how many videos
you watch in an hour on YouTube,” Stokel-Walker says, “and the data that
generates about you – versus how many you can watch on TikTok.”

The FYP isn’t magic, though, and the ways it fails can be just as instructive as
the ways it succeeds. New users of the app will notice that it is obsessive
about harvesting personal data, begging for access to the contacts list and
tracking every inbound and outbound shared video. Deny it those
datapoints, and it is forced to present the most generic possible version of
the feed, personalised to what little it can determine from broad geolocation
and device details.

But when it works, the algorithm is so good at what it sets out to do that
TikTok appears almost overwhelmed by its power, Stokel-Walker says. “It’s
even slipped in messages to users it thinks are too addicted, saying they
should put the phone down.”

One such message, shown from the company’s TikTokTips account to users
scrolling through their feed for hours straight late at night, features TikTok
star Gabe Erwin imploring the viewer to “go get some extra sleep, turn your
phone o , do yourself that favour and have a great night”. The company has
        ff
also added new “screen time” features, particularly for younger users,
turning o noti cations past bedtime and allowing users to set a maximum
             ff
                  fi
time on the app each day, in an e ort to limit the most compulsive use of its
                                 ff
app.




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   TikTok has added features that allow users to limit compulsive use of its app. Photograph:
   Manjunath Kiran/AFP/Getty Images


   As TikTok moves into its second year of online dominance – the app overtook
   YouTube for average time per user in September 2021 and has stayed at the
   top ever since – the big question is whether its algorithmic success can
   remain a unique selling point. Facebook certainly hopes not: the social
   network, along with corporate sibling Instagram, recently announced an
   overhaul of its apps to focus on an aggressive new algorithmic curation
   engine. Just like TikTok, Facebook and Instagram will now show you vast
   quantities of content from users you don’t follow, with posts from friends
   buried in between, or hidden on a separate “following” feed behind a tab.

   The change was poorly received, leading to an apology video from Instagram
   boss Adam Mosseri, who said the company would be dialing back some of
   the alterations – but that ultimately, this was the future. “We’re going to try
   and get better at recommendations,” he said, “because we think it’s one of
   the best ways to help creators reach a new audience and grow their
   following.”

   If there is a threat to TikTok’s algorithmic crown, it might be from the
   company itself. The app dominates user attention, but has historically been
   lightly monetised. As a privately held company, TikTok doesn’t publish
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 revenue gures but in 2021, research rm eMarketer estimates it took in $4bn


          fi
                                       fi
 a year – less than 5% of Facebook’s revenue.

 In 2022, the company has tried to grow that. It’s taken the traditional
 approach, with more adverts injected into the feed, but also tried more novel
 opportunities, including a push for QVC-style live shopping experiences,
 lifted from Chinese sister app Douyin. The launch went poorly. Hosts and
 brands had to be subsidised by TikTok, which pushed deep discounts in sales
 but failed to garner a regular returning audience.

 Worse, sales with too-good-to-be-true prices were undercut by other items
 whose prices really were too good to be true: the platform struggled with a
 counterfeiting problem, leaving users unclear if a Dyson hairdryer worth
 £450 is selling for £14 because of a subsidy or a scam.

 But if TikTok can work out how to balance the commercially-necessary
 tweaks to its algorithm with the pure compulsion of the FYP at its best (or
 worst), then it will have created an artefact of tech history that will go down
 alongside the News Feed, In nite Scroll and (Snapchat) Story as emblematic
                              fi
 of the social media era.




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                                    How TikTok Changed the Social Media
                                    Game With Its Unique Algorithm
                                    Here's what makes TikTok's algorithm different from other social media platforms and how the
                                    algorithm led to the app's explosive growth.


                                    BY AJ KUMAR         EDITED BY CHELSEA BROWN          AUG 16, 2022                                         Share     ©



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                                              ikTok is rewriting the rules for how we create, share and                  discover visual content.
                                              The TikTok algorithm, specifically the "For You Page" (FYP) feed, has changed the
                                              game for social networks propelling entertainment and discovery to the forefront.


                                    In this article, I'm diving into the rise and fall of social media, what led to TikTok's
                                    explosive growth, how the TikTok algorithm is different from other social networks, and
                                    how TikTok's success is influencing other platforms.

                                    Related: How        Brands Are Capitalizing TikTok to Win            New    Audiences




                                    The rise and fall of social media

                                    As social networks and media platforms evolve, so do our habits and behaviors. Think
                                    back to your early social media days. Before the explosive growth of apps like TikTok and
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                                The rise and fall of social media

                                As social networks and media platforms evolve, so do our habits and behaviors. Think
                                back to your early social media days. Before the explosive growth of apps like TikTok and
                                Instagram, our social media experiences and the content we consumed were largely
                                dependent on those we chose to "friend" on Facebook (and before that, MySpace).


                                These connections were bi-directional with both parties accepting the friendship. Initially,
                                this was with classmates and friends. Later, our connections evolved to include extended
                                family (remember the first time you saw Grandma was on Facebook?) and random
                                acquaintances (that friend you met on the bus while traveling abroad). Naturally, we age
                                out of those connections, and eventually, their content no longer feels as relevant or
                                interesting to us.




                                In search of a more curated experience, we seek out new platforms. For many, this was
                                Instagram, Twitter or LinkedIn. The differentiator is the ability to one-way follow. This
                                enabled us to tighten that circle of family and friends to just those whose posts we
                                wanted to see.


                                Simultaneously, it enabled us to expand our feeds beyond those we know personally to
                                include people and brands we were interested in following — a shift that propelled the
                                rise of influencers, creators and businesses building out their social media presence while
                                fueling our need for more relevant content. However, it wasn't long until many of us found
                                ourselves "doom scrolling" these apps in search of content that could keep up with our
                                changing interests, need for entertainment and short-term attention spans.


                                Like many others, | found myself spending an excessive amount of time consuming
                                information on my feeds that (again) didn't feel relevant while comparing my life to the
                                social highlight reels of those | follow, all while absorbing negative news and feeling
                                pressure to share and measure social interactions. This leads to an increased social and
                                emotional burden of navigating social media, often leading to the desire to shut off the
                                apps completely and turn to Netflix or YouTube videos for passive entertainment.


                                Related: Here's Why Not Being on TikTok Is a Huge Mistake




                                What led to TikTok's explosive growth?

                                Ultimately, social media platforms were built to foster connections, not to discover and
                                explore our interests. The issue is that we, as users, take on the additional burden and
                                effort of trying to personalize our feeds to feel more relevant and interesting to us as




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                                What led to TikTok's explosive growth?

                                Ultimately,   social media   platforms were   built to foster connections,   not to discover and
                                explore our interests. The issue is that we, as users, take on the additional burden and
                                effort of trying to personalize our feeds to feel more relevant and interesting to us as
                                individuals by muting or unfollowing, making Twitter lists, searching hashtags, typing
                                subjects into the search bar, etc.


                                If only there was a platform that personalized our feeds for us without having to lift a
                                finger ... and in the blink of an eye, TikTok completely takes the social media world by
                                storm. After years of irrelevant, disconnected news feeds, TikTok has revamped the
                                scrolling experience, enabling discovery and curating interest-based entertainment.


                                The "For You Page" (FYP) was designed to share content with users based on what the
                                TikTok algorithm has learned to be the most relevant and of the highest interest to them.
                                Within minutes, FYP feeds are personalized to our interests, beliefs, curiosities and
                                passions just by passively watching entertaining short-form videos.


                                Why is it so addicting? Because it's personalized specifically for YOU. TikTok is about
                                discovery, and the algorithm works like a speedy matchmaker, discovering things for you
                                that you didn't even realize you wanted to see. In 2021, TikTok surpassed Google on
                                Cloudflare's most popular domains.




                                Related: 3 Reasons TikTok Is Here To Stay




                                How is the TikTok algorithm different?

                                Most social media platforms, such as Facebook and Instagram, rely on what is called a
                                “social graph," They intend to connect you within a network of every person you may have
                                any relation to and use this insight to inform advertising. However, these suggestions are
                                under the assumption that we have the same interests and buying behaviors as those we
                                are connected to, which is simply not the case.

                                TikTok's key differentiator is that the algorithm was built on an "interest graph." It works
                                using your interests and content that you interact with, capturing your likes and dislikes
                                and associating you with other user groups who share those interests.


                                TikTok does have a social graph aspect with their following feed, but the FYP is what has
                                catapulted user discovery and creator growth. All a user has to do is watch a few videos
                                without adding a single follower, and the TikTok algorithm can quickly curate what you will
                                like.




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                                1nNwe.




                                How does it work? TikTok uses artificial intelligence (Al). It evolves to our changing
                                interests in real-time without us having to do much of the work (removing that burden |
                                mentioned earlier). The algorithm discovers what is interesting to us while we passively
                                scroll. The short-form videos allow for this to happen at lightning speed. This removes the
                                burden of other social apps if you want it to. You can remove the social aspect entirely.
                                Many use TikTok solely as a discovery and entertainment platform.


                                Al technology is not new. You've seen it before with shopping suggestions on Amazon
                                based on what others with similar tastes have purchased. Amazon isn't built on a social
                                graph, so they use your past behavior and match you with those with similar purchasing
                                behavior.


                                The difference with TikTok is that it's hyper-personalized, and it's eerily accurate. It's so
                                specific to your personal and professional interests that no two individuals' feeds are the
                                same. Try it yourself — go on a friend's For You Page, and you will see the content they
                                are matched with is entirely different from what you see on yours. At this point, TikTok
                                may even know us better than we know ourselves.



                                How is TikTok's success influencing other platforms to evolve?
                                An essential piece to the TikTok algorithm is the focus on personalized short-form video
                                content. This is a fundamental shift in the way people around the world engage and
                                discover online. With short-form videos, the system receives information on our behaviors
                                much quicker with large amounts of data in a short amount of time. They make it fun and
                                easy for users to do the work for them while keeping us entertained along the way.




                                The use of short-form videos benefits all parties — users, creators and the platform itself.
                                For users, we can consume a high dose of personalized content in a relatively short
                                amount of time. For creators, you can get discovered more quickly while repurposing
                                longer-form content into bite-size pieces. And for the app, short-form videos get the data
                                they need faster, so they can personalize the in-app experience      and algorithm more
                                efficiently.


                                It's no surprise that the global leaders in social media are taking note. TikTok's popularity
                                and the success of the FYP has literally propelled all the other large social platforms to
                                build their own short-form video products (i.e., Pinterest Idea Pins, Youtube Shorts,
                                Instagram Reels, Snapchat Spotlight, etc.) and shift their focus to prioritizing interest
                                graphs over social graphs.


                                Short-form videos (and specifically, TikTok videos) are essential for any creators' content
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                                build their own short-form video products (i.e., Pinterest Idea Pins, Youtube Shorts,
                                Instagram Reels, Snapchat Spotlight, etc.) and shift their focus to prioritizing interest
                                graphs over social graphs.


                                Short-form videos (and specifically, TikTok videos) are essential for any creators' content
                                strategy in 2022 and beyond. Try making your own interest graph for your audience. What
                                might they be searching for? What will make your content relevant to them? As TikTok
                                continues to grow and other platforms follow suit, creators who are leading their niche in
                                short-form video content will increase their discovery and grow their audience.




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           FORBESMONEYMARKETS



           TikTok Is A Beacon Of Democracy
           In The Social Media Landscape
           James Broughel
           Contributor
           I am an economist focused on the economics of regulation.

           Apr 19, 2024,10:06am EDT
           Updated Apr 19, 2024, 01:22pm EDT




           The proposed TikTok ban in Congress fail's to recognize how the app's algorithm is more democratic ...

           getty


           Recent developments in the U.S. House of Representatives have put TikTok,
           the immensely popular Chinese-owned social media app, in the crosshairs of
           lawmakers. The House has tied a revised proposal to ban or force the sale of
           TikTok’s U.S. operations to a massive $95 billion aid package for Ukraine,
           Israel, and Gaza. If passed, the Wall Street Journal reports the the Senate
           could vote on the measure as early as next week, potentially fast-tracking the
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           legislation. However, this move to force TikTok’s parent company ByteDance
           to divest the app or cease operations in the U.S. would be a misguided
           measure that fails to recognize TikTok’s unique strengths and its potential as a
           model for more democratic social media.

           TikTok has faced scrutiny over its Chinese ownership and content algorithm,
           with concerns raised about national security as well as the app’s influence on
           young users. While these concerns warrant discussion, they should not
           overshadow the platform’s remarkable ability to democratize content creation
           and distribution. TikTok’s algorithm is particularly effective at surfacing
           content from a wide range of users, regardless of their follower count or prior
           popularity.

           In contrast, consider the recent changes at Twitter (now rebranded as X)
           under Elon Musk’s leadership. The platform’s “blue check” system
           systematically favors paying users, creating a two-tiered system that
           disadvantages those who can’t or won’t pay for verification. Moreover, X
           suffers from an incumbent advantage, where users with established followings
           benefit from a self-reinforcing cycle of visibility and growth, making it harder
           for new voices to break through.

           TikTok, on the other hand, has leveled the playing field through its superior
           use of hashtags and its algorithm’s ability to surface content based
           on engagement with internet trends rather than metrics indirectly tied to
           follower count. It’s not uncommon for amateur creators with modest
           followings to have their videos seen by hundreds or even thousands of
           strangers, sparking lively discussions in the comments section. This
           democratization of reach is a refreshing departure from the entrenched
           hierarchies that can be found on other social media platforms.

  Document title: TikTok Is A Beacon Of Democracy In The Social Media Landscape
  Capture URL: https://www.forbes.com/sites/jamesbroughel/2024/04/19/tiktok-is-a-beacon-of-democracy-in-the-social-media-
  hellscape/?sh=7c0849fd1278
  Capture timestamp (UTC): Wed, 19 Jun 2024 14:09:06 GMT

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           Another issue plaguing X is the prevalence of bots, which has prompted Elon
           Musk to propose charging new users to post in an effort to combat the
           “relentless onslaught” of automated accounts, he said in a recent post on the
           platform. While this may help mitigate the bot problem, it also erects a barrier
           to entry for genuine new users, further concentrating power in the hands of
           established accounts.

           Even if the proposed ban results in TikTok’s divestiture rather than an
           outright shutdown, the app’s acquisition by a U.S. company—perhaps one of
           the Big Tech firms in Silicon Valley—could lead to a watering down of its
           egalitarian algorithm. American social media giants have a history of
           prioritizing established creators and brands over emerging or outside-the-
           mainstream voices, a recent Fox Business segment noted. There’s a risk that
           TikTok’s unique democratizing features could be lost in the transition.

           TikTok’s triumph in fostering a more open environment for creators and users
           alike should be celebrated and emulated, not punished through the misguided
           legislation making its way through Congress. Compelling ByteDance to shut
           down or sell the app would not only deprive millions of Americans of a vibrant
           platform for self-expression, it also sets a dangerous precedent for
           government overreach in the digital realm.

           A version of the TikTok ban already passed the House of Representatives last
           month and has been stalled in the Senate. Now, with the TikTok provision
           attached to what is viewed as must-pass legislation, the Senate could be forced
           to act. As they deliberate on what to do, senators should weigh carefully the
           costs and benefits of targeting a single company based on its national origin.
           They should ask themselves whether they’d like to see U.S. tech companies
           treated in a similar manner by lawmakers abroad.

  Document title: TikTok Is A Beacon Of Democracy In The Social Media Landscape
  Capture URL: https://www.forbes.com/sites/jamesbroughel/2024/04/19/tiktok-is-a-beacon-of-democracy-in-the-social-media-
  hellscape/?sh=7c0849fd1278
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           Instead of penalizing the app for its success in creating an immensely popular
           online platform, policymakers should look to TikTok as a model for promoting
           a more inclusive and intellectually diverse online ecosystem. Banning or
           forcing the sale of TikTok would be a step in the wrong direction for both free
           speech and the future of social media.

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           James Broughel
           Follow
           I am a Senior Fellow at the Competitive Enterprise Institute with a focus on innovation and dynamism. I'm author of
           the book Regulation and Economic Growth: Applying Economic Theory to Public Policy. My writing has appeared in
           the Wall Street Journal, the Los Angeles Times, and the Washington Post. I have also published in scholarly journals,
           including Regulation & Governance, Contemporary Economic Policy and PLOS ONE. I received my PhD in economics
           from George Mason University and my BA and MA in economics from Hunter College of the City University of New
           York.
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                 EXHIBIT 17




                                                       Addendum - 227
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                         TikTok: Are influencers panicking                                                                                                                                Customize Your Dock




                         about bans? We asked three to
                                                                                                                                                                           MARKETS
                                                                                                                                                                                us          Europe       Asia          Rates


                         weigh in.                                                                                                                                         S&P 500
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                             Alexandra Garfinkle          - Senior Reporter                                                  thy         a1
                             Updated Thu, Jan 19, 2023 - 5 min read                                                                                                        TRENDING TICKERS                                     >

                                                                                                                                                                           ADBE                                        525.04
                                                                                                                                                                           Adobe Inc.                    +66.30 (+14.45%)
                              In This Article:
                                                                                                                                                                           NFLX                                        671.40
                                                                                                                                                                           Netflix, Inc.                     +18.14 (+2.78%)
                                GOOG        +0.83%      GOOGL       +0.79%         META    -0.34%
                                                                                                                                                                           RH                                        228.40
                                                                                                                                                                           RH                                -48.65 (-17.56%)

                                                                                                                                                                           KAVL                                             y
                             As talk of banning TikTok grows, the so-called influencers                                                                                    Kaival Brands In...           +3-98 (+292.65%)

                             whose          livelihoods are linked to the platform aren't panicking                                                                        CCL                                            15.12
                                                                                                                                                                           Carnival Corporation...              -1.39 (-8.42%)
                             — at least, not yet.
                                                                                                                                                                           TOP ECONOMIC EVENTS                                  >

                             Yahoo Finance spoke to three of those influencers, with                                                                                            United States ©          v

                              nearly 5.5 million followers between them. The topic of                                                                                      U Mich Sentiment Prelim
                                                                                                                                                                           Jun 14, 2024, 10:00 AM             EDT
                              conversation: How they're thinking about the escalating
                              series of bans on state and university devices, as well as the
                             fiery rhetoric coming out of Washington. For the most part,
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Document title: TikTok: are influencers panicking about bans? We asked three to weigh in.
Capture URL: https://finance.yahoo.com/news/tiktok-are-influencers-panicking-about-bans-we-asked-three-to-weigh-in-205625085.html?guccounter=1
Capture timestamp (UTC): Fri, 14 Jun 2024 15:44:16 GMT                                                                                                                                                            Page 1 of 6

                                                                                                                                                               Addendum - 228
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                             fiery rhetoric coming out of Washington.                                                   For the most part,                                                            Q Quote Lookup
                             though they're concerned, they haven't yet seen their                                                                                                                         ®    U.S. markets close in 4h 17m

                             businesses affected so far.                                                                                                                                                         Customize Your Dock

                                                                                                                                                                                                           us      Europe             Asia           Rates




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                                                                                                                                                                                                      -18.09 (-0.33%)                 -145.93 (-0.38%)


                                                                                                                                                                                                      Nasdaq                          Russell 2000

                             "The current bans do not have a direct impact on our                                                                                                                     17,622.62                       2,005.89


                             business," influencer and digital marketer Chase Chappell                                                                                                                -44.95 (-0.25%)                 -33.26 (-1.63%)

                             told Yahoo Finance. "If they were to ban TikTok for everyone                                                                                                             Crude Oil                       Gold
                             in the U.S., that'd be a cause for concern, as 50% of all our                                                                                                        78.31                               2,343.30

                             clients come from TikTok specifically. This is also my biggest
                                                                                                                                                                                                      -0.31 (-0.39%)                  +25.30 (+1.09%)
                             platform in terms of followers and views, and our business
                                                                                                                                                                                                                                  <   >
                             does rely on this platform as a source of growth."
                                                                                                                                                                                                      MY PORTFOLIOS                                         >

                             Chappell's business focuses on helping others grow their                                                                                                                           Sign in to access your

                             social media reach and TikTok is a major part of his life. He                                                                                                                             portfolio

                             spends two to four hours a day on the platform, and his
                             business isn't the only one on TikTok that he's apprehensive
                             about. He's worried about the fate of the businesses he
                                                                                                                                                                                                      TRENDING TICKERS                                      >
                             deals with as well.
                                                                                                                                                                                                      ADBE                                     525.04
                                                                                                                                                                                                      Adobe Inc.                      +66.30 (+14.45%)

                             "If TikTok were to be banned, thousands of our clients would                                                                                                             NFLX                                           671.40
                                                                                                                                                                                                      Netflix, Inc.                        +18.14 (+2.78%)
                             be impacted financially as this platform has become a major
                                                                                                                                                                                                      RH                                           228.40
                             source of their customer base and revenue,” he said. "Not                                                                                                                RH                                   -48.65 (-17.56%)

                                                                                                                                                                                                      KAVL
                             only that, this would                          have a major economic                                 impact across                                                       Kaival Brands Inn...                +3.97 (+290.78%)

                             the U.S., as millions of users are buying items from U.S.                                                                                                                CCL                                              15.12
                                                                                                                                                                                                      Carnival Corporation...                -1.39 (-8.42%)
                             companies that they discovered specifically on TikTok."
                                                                                                                                                                                                      TOP ECONOMIC EVENTS                                   >

                                                                                                                                                                                                           United States ©            v

                                                    chase_chappell                                               >                                                                                    U Mich Sentiment Prelim

                                                    Chase Chappell                                                                                                                                    Jun 14, 2024, 10:00 AM                EDT
                                                                                                                                                                                                      P: 69.1          N: 65.6
                                                             el
                                                                                                                                                                                                      MBA 30-Yr Mortgage Rate
                              146 Following     229.6K Followers       1.4M Like
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                              tiktok ad advisor to brands                                                                                                                                             P: 7.02          N:-
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                             Chase Chappell's TikTok page, taken on Jan. 19, 2023.


                             There's only so much                            data on the growing role of small




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                                                                                                                                                                                              Addendum - 229
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                                                                                                                                                             Q Quote Lookup
                             There's only so much data on the growing role of small
                             businesses on TikTok and, candidly, it's worth taking what                                                                           ®    U.S. markets close in 4h 17m


                             we have with a grain of salt — but what we do have shows a                                                                                 Customize Your Dock


                             picture of a platform where the influencer economy is                                                                                us      Europe         Asia          Rates


                             thriving.                                                                                                                       S&P 500                     Dow 30
                                                                                                                                                             5,415.65                    38,501.17

                                                                                                                                                             we                          ww
                             Data from digital marketer Higher Visibility suggests that as                                                                   18.09 (-0.33%)              -145.93 (-0.38%)

                             much as 65% of the most prominent, full-time online                                                                             Nasdaq                      Russell 2000

                             creators are using TikTok as their primary platform going                                                                       17,622.62                   2,005.89


                             into this year. The 'why' is pretty simple — creators and small                                                             AVAL                            wa
                                                                                                                                                             -44.95 (-0.25%)             -33.26 (-1.63%)
                             businesses, which are often one and the same, are
                                                                                                                                                             Crude Oil                   Gold
                             frequently drawn to TikTok's now-storied organic reach.                                                                     78.31                           2,343.30

                             Additionally, TikTok itself has been studying small
                                                                                                                                                             -0.31 (-0.39%)              +25.30 (+1.09%)
                             businesses on its platform, gathering data based on 7,000
                                                                                                                                                                                     <   >
                             responses. Bottom line: As many as 78% of small
                             businesses currently on the platform are planning to                                                                            MY PORTFOLIOS                                  >

                             increase investment in it.                                                                                                                Sign in to access your
                                                                                                                                                                               portfolio

                             So, as influencers wait for the Washington-TikTok standoff
                             to play out, what are they doing to protect themselves? For
                             one, many have been diversifying away from TikTok. Mik
                             Zenon, whose TikTok presence focuses on products and "life                                                                      TRENDING TICKERS                               >

                                                                                                                                                             ADBE                                 525.04
                             hacks" like finding the most useful home gadgets on                                                                             Adobe Inc.                  +66.30 (+14.45%)

                             Amazon                   (AMZN), has been building out on other platforms                                                       NFLX                                      671.40
                                                                                                                                                             Netflix, Inc.                    +18.14 (+2.78%)
                             for years now.                                                                                                                  RH                                      228.40
                                                                                                                                                             RH                              -48.65 (-17.56%)

                                                                                                                                                             KAVL
                             "If the bans were to ever extend to personal devices, then                                                                      Kaival Brands Inn...            +3.97 (+292.17%)

                             the impact would be significant," he said. "There was talk of                                                                   CCL                                          15.11
                                                                                                                                                             Carnival Corporatio...             -1.40 (-8.45%)
                             something like this happening in summer 2020 under
                             Trump's presidency. Back then, 100% of my business was on                                                                       TOP ECONOMIC EVENTS                            >

                             TikTok. | learned quickly the need to have a presence on as                                                                          United States ©        v

                             many platforms as possible... | have a substantial following                                                                    U Mich Sentiment Prelim
                                                                                                                                                             Jun 14, 2024, 10:00 AM            EDT
                             now on Instagram, Facebook, and YouTube and | have                                                                              P: 69.1          N: 65.6

                             collected tens of thousands of emails over the years. | no                                                                      MBA 30-Yr Mortgage Rate
                                                                                                                                                             Jun 20, 2024, 7:00 AM            EDT
                             longer feel like | am over-leveraged on one platform."                                                                          P: 7.02          N: -

                                                                                                                                                             Mortgage Market Index
                             Still, about 25% of Zenon's livelihood is entwined with                                                                         Jun 20, 2024, 7:00 AM            EDT
                                                                                                                                                             P: 208.5         N: -
                             TikTok.
                                                                                                                                                             Initial Jobless Clm*
                                                                                                                                                             Jun 20, 2024, 8:30 AM            EDT
                                                                                                                                                             P: 242           N: -

                                                       mik.zenon                                                »                                                                    <   >
                                                         Mik Zenon
                                                  ’                                                                                                                    Terms and Privacy Policy
                                                                       Zl)
                                                                                                                                                                          Privacy Dashboard
                               63   Following         3.1M    Followers     126.8M   Likes
                                                                                                                                                                         Ad Terms - Feedback
                               Favorite Finds @
                               Life Hacks + Giveaways #
                               All Links Below Sor on my IG@

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                                                                                                                                                                                  18.09 (-0.33%)              -145.93 (-0.38%)
                               Last One ts 100% A Must-...   How smart is the last one?...   Who needs a camera? @ ...   Seriously ... where has this...


                                                                                                                                                                                   Nasdaq                     Russell 2000
                             Mik Zenon's TikTok page, taken on Jan. 19, 2023.
                                                                                                                                                                                  17,622.62                   2,005.89


                             Security concerns?                                                                                                                                   AVAL                        wa
                                                                                                                                                                                  -44.95 (-0.25%)             -33.26 (-1.63%)


                             As far as data security is concerned, our Yahoo Finance                                                                                              Crude Oil                   Gold
                                                                                                                                                                                  78.31                       2,343.30
                             influencers were mixed on the problem. For Zenon, he's no
                             more worried about TikTok, which is owned by Beijing-based                                                                                           -0.31 (-0.39%)              +25.30 (+1.09%)

                             ByteDance, than any other platform.                                                                                                                                          <   >



                                                                                                                                                                                   MY PORTFOLIOS                                    >
                             "I've come to accept that all social media platforms collect
                                                                                                                                                                                            Sign in to access your
                             our personal data to some degree when we use their apps,"
                                                                                                                                                                                                    portfolio
                             he said.

                             Chappell, meanwhile, said the government's concern makes
                             him question the long-term ramifications.
                                                                                                                                                                                  TRENDING TICKERS                                  >

                                                                                                                                                                                  ADBE                                 525.04
                             "It certainly makes me question how this could be used                                                                                               Adobe Inc.                  +66.30 (+14.45%)

                             against the U.S. in a future scenario, [but] as of right now, |                                                                                      NFLX                                      671.40
                                                                                                                                                                                   Netflix, Inc.                   +18.14 (+2.78%)
                             have no specific personal reasons to be worried about," he                                                                                           RH                                      228.40
                                                                                                                                                                                  RH                              -48.65 (-17.56%)
                             said. "My only concerns are around                                       potential 'what ifs,’ but |
                                                                                                                                                                                  KAVL                                          .
                             can't worry about 'what ifs' all the time, otherwise I'd always                                                                                       Kaival Brands Inn...           +3.97 (+292.17%)
                                                                                                                                                                                  CCL                                          15.11
                             be in a worry and that's not good for anyone."                                                                                                       Carnival Corporatio...             -1.40 (-8.45%)


                                                                                                                                                                                  TOP ECONOMIC EVENTS                               >
                             For TikTok's part, the company is in the midst of a
                                                                                                                                                                                       United States ©        v
                             negotiation with the Committee on Foreign Investment in
                                                                                                                                                                                   U Mich Sentiment Prelim
                             the United States (CFIUS) to address the government's                                                                                                Jun 14, 2024, 10:00 AM            EDT

                             security concerns. "We believe that the proposal under                                                                                                P: 69.1         N: 65.6


                             review by CFlUS—made up of our country's top national                                                                                                 MBA 30-Yr Mortgage Rate
                                                                                                                                                                                  Jun 20, 2024, 7:00 AM            EDT
                             security agencies—will address all national security                                                                                                  P: 7.02         N: -

                             concerns about TikTok so that our community can feel                                                                                                  Mortgage Market Index
                                                                                                                                                                                  Jun 20, 2024, 7:00 AM            EDT
                             confident in their safety, privacy, and security," a company                                                                                          P: 208.5        N: -

                             spokesperson said.                                                                                                                                    Initial Jobless Clm*
                                                                                                                                                                                  Jun 20, 2024, 8:30 AM            EDT

                             ‘My followers are everything’                                                                                                                         P: 242          N: -

                                                                                                                                                                                                          <   >


                             The prospects of the ban aside, TikTok is clearly important                                                                                                     Terms and Privacy Policy

                             to the small businesses on the platform.                                                                                                                           Privacy Dashboard

                                                                                                                                                                                               Ad Terms - Feedback

                             For Fafa Araujo, who runs Fafa Fitness and frequently goes
                             by her first name, the platform has done nothing short of
                             changing her life, she said. She joined TikTok in 2021, and




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                             changing her life, she said. She joined TikTok in 2021, and                                                                                                      Q Quote Lookup

                             has gained her 2.1 million followers in the short time since.                                                                                                         ®    U.S. markets close in 4h 17m

                                                                                                                                                                                                         Customize Your Dock

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                                  5 Following     2.1M    Followers     18.86M   Likes                                                                                                        -18.09 (-0.33%)                 -145.93 (-0.38%)

                                  Follow me on |G OF
                                  Subscribe to my YouTube Channel #4                                                                                                                          Nasdaq                          Russell 2000
                                  & youtu.be/Y2EiIQFebAal                                                                                                                                     17,622.62                       2,005.89

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                                   calfs can dance too #...            pure brazilian style @4°7...   that friday feeling @ #viral    Brazilian in miamilil'f
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                             Fafa's TikTok page, taken on Jan. 19, 2023.                                                                                                                                Sign in to access your
                                                                                                                                                                                                               portfolio
                             "| would be really hard for me to move forward right now or
                             even be where | am without TikTok," she told Yahoo Finance.

                             "TikTok brings me what I'm looking for—people that | can
                                                                                                                                                                                              TRENDING TICKERS                                      >
                             help," she added. "| know it's only been two years for me on                                                                                                     ADBE                                     525.04
                                                                                                                                                                                              Adobe Inc.                      +66.30 (+14.45%)
                             TikTok, but it's helped me find my happiness helping others.
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                             TikTok is the love of my life."                                                                                                                                  Netflix, Inc.                        +18.14 (+2.78%)
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                             For Araujo, who is based in Miami, the fear of a ban comes                                                                                                   KAVL                                                  .
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                             down to her connection with those followers — she doesn't
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                             want to lose them, professionally and especially ona                                                                                                             Carnival Corporatio...                -1.40 (-8.48%)

                             personal level.
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                             "My followers are everything," she said. "Without them, what
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                             am |?"                                                                                                                                                           Jun 14, 2024, 10:00 AM                EDT
                                                                                                                                                                                              P: 69.1          N: 65.6


                             Allie Garfinkle is a Senior Tech Reporter at Yahoo                                                                                                               MBA 30-Yr Mortgage Rate
                                                                                                                                                                                              Jun 20, 2024, 7:00 AM                EDT
                             Finance. Follow her on Twitter at @agarfinks.                                                                                                                    P: 7.02          N: -

                                                                                                                                                                                              Mortgage Market Index

                             Click here for the latest trending stock tickers of the                                                                                                          Jun 20, 2024, 7:00 AM                EDT
                                                                                                                                                                                              P: 208.5         N: -
                             Yahoo Finance platform.
                                                                                                                                                                                              Initial Jobless Clm*
                                                                                                                                                                                              Jun 20, 2024, 8:30 AM                EDT
                             Read the latest financial and business news from Yahoo                                                                                                           P: 242           N: -

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Capture URL: https://finance.yahoo.com/news/tiktok-are-influencers-panicking-about-bans-we-asked-three-to-weigh-in-205625085.html?guccounter=1
Capture timestamp (UTC): Fri, 14 Jun 2024 15:44:16 GMT                                                                                                                                                                                   Page 5 of 6

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                                "TikTok brings me what I'm looking for—people that | can
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                                help," she added. "I know it's only been two years for me on
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                               TikTok, but it's helped              me find my happiness helping others.
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                               TikTok is the love of my life."
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                                For Araujo, who is based                  in Miami, the fear of a ban comes                                                  S&P 500                     Dow 30
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                               want to lose them, professionally and especially on a                                                                         -18.09 (-0.33%)             -145.93 (-0.38%)


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                                "My followers are everything," she said. "Without them, what
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                                                                                                                                                             ADBE                                      525.00
                               Follow Yahoo Finance on Twitter, Facebook,                             Instagram,                                             Adobe Inc.                  +66.26 (+14.44%)
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                               LinkedIn, and YouTube.                                                                                                        Netflix, Inc.                    +18.14 (+2.78%)
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                                                                                                                                                             Carnival Corporatio...            -1.40 (-8.48%)

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                     yahoo/ finance                                                                                                                          MBA 30-Yr Mortgage Rate
                                                                                                                                                             Jun 20, 2024, 7:00 AM            EDT


                         How Meta, TikTok, and the social                                                                                                    P: 7.02          N: -

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                         media industry are changing to                                                                                                      Jun 20, 2024, 7:00 AM
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Capture timestamp (UTC): Fri, 14 Jun 2024 15:44:16 GMT                                                                                                                                              Page 6 of 6

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       THE TAB


                                                                                                                    MOST READ

                                                                                                                                            Bridgerton creator reveals
                                                                                                                                            how long we have to wait
                                                                                                                                            until season four and now
                                                                                                                                            I'm crying




                                                                                                                                            ‘Cut them out, get rid’:
                                                                                                                                            Inside the shock end to
                                                                                                                                            Lucinda and Timothy's
                                                                                                                                            MAFS friendship




                                                                                                                                            This TikToker got fired for
                                                                                                                                            saying the n-wordina
                                                                                                                                            video, and now she’s
                                                                                                                                            doubling down on it

            This man has gone viral on TikTok for dancing to
            Nelly Furtado in front of his bathroom sink                                                                                     The staggeringly high net
                                                                                                                                            worths of the Big Bang
                                                                                                                                            Theory cast, ranked from
            The vibes are immaculate and the dancing is breathtaking
                                                                                                                                            lowest to highest


            2 YEARS AGO

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                      UK




                                                                                                                 Follow us on Insta for
            Jamie Big Sorrel Horse, aka @jamie32bsh, uploaded possibly the best TikTok of all time                        the latest uni
                                                                                                                        news, memes
            which shows him dancing in front of his bathroom sink to Say It Right by Nelly Furtado                          and gossip
            and oh man, it’s iconic. The video has since surpassed 146.3 million views and has over 22
            million likes. So it’s fair to say the dancing Nelly Furtado man is officially a TikTok icon. If               Click here
            you need to jog your memory, or want to watch the video again for the vibes then check it
            out below.



                                         ROW
                                               ie
                                                    MS       ylesn                   :
                                                                           View profile
                                                                                                                   THE TAB
                                                    Jamie Big Sorrel ...                                         Follow us on Insta for
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                                                                                                                            and gossip


                                                Related videos                                                             ei [fel aa-)-)


                                                                                                                                            Arundown of what
                                                                                                                                            actually went down with
                                                                                                                                            Georgia and Dom after
                                                                                                                                            winning Perfect Match




                                                                                                                                            So, Love Island's
                                                                                                                                            Harriett’s brotherisn’ta
                                                                                                                                            Premiership footballer —
                                                                                                                                            that was acomplete lie



                                                                                                                                            Ranked: The 2024
                                                                                                                                            Islanders done the most
                                                                                                                                            dirty by the Love Island




Document title: The Nelly Furtado dancing man from TikTok has gone viral with this video
Capture URL: https://thetab.com/
Capture timestamp (UTC): Fri, 14 Jun 2024 15:46:48 GMT                                                                                                                    Page 1 of 7

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                                                                                                                              30, Love Isiana’s
                                                                                                                              Harriett’'s brotherisn’ta
                                                                                                                              Premiership footballer-—
                                                                                                                              that was acomplete lie




                                                                                                                              Ranked: The 2024
                                                                                                                              Islanders done the most
                                                                                                                              dirty by the Love Island
                                                                                                                              photographer



                                            oO          «&                               a
                                                                                                                              Bridgerton’s carriage
                                                                                                                              scene was way more
                                       @ Watch more e»                                                                        explicit in the book, here’s
                                                                                                                              what the show left out
                                       @jamie32bsh

                                       JJ Say It Right - Sped Up Remix - Nelly                                                This is how old all the Love
                                       Furtado & Speed Radio                                                                  Island 2024 cast members
                                                                                                                              are, from youngest to
                                                                                                                              oldest

            Since Jamie’s original bathroom mirror TikTok video was uploaded, he has been raking in
            followers, likes and views. He’s now at 1.9 million followers and he’s gained attraction                          A video of Harriett way
            from some of the biggest creators on TikTok. There have even been calls to get our Nelly                          before Love Island has

            Furtado king into the Hype House!!                                                                                emerged and she looks so
                                                                                                                              different it’s wild




            Recently he uploaded this video grooving to Ariana Grande’s Motive and his dancing is
            phenomenal to say the least. The top comment says: “POV: He started a new trend and
            you’re here to say you are early to it.” And that’s exactly right, this bathroom sink Nelly
            Furtado dancing man did start a trend and we all are absolutely here to stay for it. Let’s
            take a deep ol’ dive into his vibey TikTok account:


            1. Ariana Grande should be quaking rn


                                        ) mn \ jamie32bsh
                                        |          5             a             View profile
                                                        Jamie Big Sorrel ...




                                                       Related videos




                                                                                         rd


                                       Aci cetan
                                       @jamie32bsh

                                       JJ        motive x promiscuous - elfixsounds




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Capture timestamp (UTC): Fri, 14 Jun 2024 15:46:48 GMT                                                                                                       Page 2 of 7

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                                      eas
                                      @jamie32bsh

                                      JJ       motive x promiscuous - elfixsounds




            2. Icon energy


                                           py          jamie32bsh
                                                                a               View profile
                                                       Jamie Big Sorrel ...




                                                  Related videos

                                                       ef




                                                 Se\                     at |
                                                                         7.


                                           O           &            C3                    ad

                                      Aces
                                      @jamie32bsh

                                      JJ       original sound - Jamie Big Sorrel Horse




            3. Ihave no idea what this is



                                           aN          jamie32bsh             TA     cea(=
                                                       Jamie Big Sorre...




                                                  Related            videos

                                                       i




Document title: The Nelly Furtado dancing man from TikTok has gone viral with this video
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                                                                                      y


                                      eee
                                      @jamie32bsh
                                      JJ Witch Doctor - kingcupbkk



            4. Bonk memes are elite, end of


                                      rome ate)
                                      @jamie32bsh




                                      @ Wotcn more«
                                      @jamie32bsh
                                      JJ   Crunch - PussTenshi




            5. Pretty sure he started this trend too x


                                            R \ jamie32bsh
                                                      a                    View   profile
                                                    Jamie   Big Sorre...




                                              Related          videos




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                                              Related     videos




                                                                                  a

                                      @ Watch more «              |   Watch now

                                      @jamie32bsh

                                      JJ Somebody That | Used To Know -
                                       slotheditz




            6. ‘Jamie should join the Hype House’

                                      ram tate)
                                      @thehypehouse




                                      @ water more es
                                      @thehypehouse @
                                      @Jamie     Big Sorrel Hor should join the
                                      hype house
                                      JJ   Say It Right - Sped Up Remix - Nelly
                                      Furtado & Speed     Radio




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                                      @thehypehouse @
                                      @Jamie   Big Sorrel Hor should join the
                                      hype house
                                      JJ Say It Right - Sped Up Remix - Nelly
                                      Furtado & Speed Radio




            7. This is sensational




                                      @ Watch more ex

                                      @osketit
                                      The king himself @Jamie Big Sorrel Hor
                                      #fyp
                                      JJ Say It Right - Sped Up Remix - Nelly
                                      Furtado & Speed Radio



            You can follow Jamie our Nelly Furotdo bathroom mirror dancing king on TikTok here.


            Related stories recommended by this writer:


            - Ten year transformations: What the UK YouTubers you watched growing up look like
            now


            - Matilda the musical is taking over TikTok and everyone seems to have been cast in it


            - Very good very nice’: Everything you need to know about Tenerife’s most cherished
            vendor


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                                              @ watch more ox
                                              @osketit
                                              The king himself @Jamie Big Sorrel Hor
                                              #fyp
                                              Ji Say It Right - Sped Up Remix - Nelly
                                              Furtado & Speed Radio



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            now


            - Matilda the musical is taking over TikTok and everyone seems to have been cast in it


            - Very good very nice’: Everything you need to know about Tenerife’s most cherished
            vendor


          C)                Frances Gurney | Trends




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                  THE INSULTINGLY HUGENET                          THEY’REFUMING!A
                  WORTHS OF THE POLITICAL                          RUNDOWN OF THE LOVE
                  PARTY LEADERS,               RANKED              ISLANDERS               WHO         WERE
                  ME          PHOEBE KOWHAI | AGENDA               SALTIEST AFTER GETTING
                       SS       —_                                 DUMPED
                  IT’S FAIR TO SAY THEY
                                     CAN ALL                                HARRISON BROCKLEHURST             | LOVE
                  COMFORTABLY AFFORD A SKY BOX                     ey       ISLAND 2024




Document title: The Nelly Furtado dancing man from TikTok has gone viral with this video
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       Bustle                                                                                                                                                 MENU

        -                             Alex Consani Is
                                      TikTok’s 2024 It Girl




        by Jillian Giandurco          She’s not known for GRWMs     or OOTDs. Instead, it’s her unique
       Jan. 9, 2024                   sense of humor that followers love.




                                                                  If you spend some time exploring the TikTok FYP, chances are you'll probably come across a
                                                                  video of Alex Consani or two. And if her icy blonde hair and effortlessly cool style don’t catch
                                                                  your eye, then her hilarious mannerisms and unique sense of humor certainly will. The creator
                                                                  has been making waves on the platform for a few years now, but after another video of hers
                                                                  went viral in late December 2023, she’s already on her way to solidifying her spot as TikTok’s
                                                                  favorite “It Girl” of 2024.


                                                                                     ADVERTISEMENT




        Get Even More From Bustle —                               Who Is TikToker Alex Consani?
        Sign Up For The Newsletter



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       Bustle                                                                                                                                                                  MENU




        Get Even More From Bustle —                                                Who Is Tik Toker Alex Consani?
        Sign Up For The Newsletter
                                                                                   Though TikTok users may have only become aware of her when started making TikToks in
        From hair trends to relationship advice, our daily
        newsletter has everything you need to sound                                2020, Consani, 20, has been working adjacent to the limelight for longer than you'd think.
        like a person who’s on TikTok, even if you aren’t.
                                                                                   Originally from the San Francisco Bay Area and currently residing in New York City, the creator
                                                                                   began her modeling career in 2015 at the age of 12, before signing with IMG Models in 2019.
          email@email.com                                          Submit
                                                                                   She was able to make her mark on the industry before she was even a teenager by becoming the
        By subscribing to this BDG newsletter, you agree to our Terms of Service
        and Privacy Policy                                                         youngest transgender model in the world at the time.

             Bustle Daily
             Up Next                                                               3 million followers on the app, but that’s nothing compared to the amount of views her videos
                                                                                   get. Her most recent TikTok, posted on Dec. 22, accumulated a whopping 29.3 million views,
                                                                                   and the model has earned a collective 159.5 million likes across both accounts as of Jan. 9.
        More like this




        OK, So, Here’s Why                       The “Invisible String
        Every Video Starts The                   Theory” Is TikTok’s
        Same Way Now                             Favorite Meet-Cute
        By Alexis Morillo                         By Carolyn Steber




        These 3 Zodiac                           TikTok’s “Blue Mind
        Pairings Are The                         Theory” Is Your
        Definition Of “Black                      Excuse To Book A
        Cat” & “Golden                            Beach Vacation
       Retriever”       Energy                    By Carolyn Steber

        By Nina Kahn




                                                                                   Unlike other TikTokers, Consani doesn’t have a niche or a schtick that audiences can latch
                                                                                   onto. She’s not interviewing random people on the street with a tiny mic, and despite her
                                                                                   fashion background, she doesn’t film OOTDs or GRWMs either. Instead, the appeal of Consani’s
                                                                                   content is her singular sense of humor, absurdist facial expressions, and mesmerizing
                                                                                   mannerisms. Most influencers become “It Girls” through styling videos and aesthetically




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       Bustle                                                                                                                                         MENU

                                                            fashion background, she doesn’t film OOTDs or GRWMs either. Instead, the appeal of Consani’s
                                                            content is her singular sense of humor, absurdist facial expressions, and mesmerizing
                                                            mannerisms. Most influencers become “It Girls” through styling videos and aesthetically
                                                            pleasing vlogs — for Consani, it’s her clever subversion of what we expect from a supermodel
                                                            that has earned her the favorable title.




                                                            Consani’s Groundbreaking Career
                                                            Consani already has several designer-label runway shows under her belt, including Alexander
                                                            McQueen, Versace, Roberto Cavalli, BOSS By Hugo Boss, Burberry, Chloé, Coperni, and more.
                                                            She also walked in the Victoria's Secret World Tour fashion show in September 2023 and served




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       Bustle                                                                                                                                            MENU




                                                                                                                                     Gotham/Wirelmage/Getty Images




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                                                            Going Viral Is A Lifestyle
                                                            If you’ve encountered Consani’s indescribable content on the FYP before, you know that her
                                                            supermodel level of confidence transcends the runway.

                                                            Some of her most viral moments on the app include a video chronicling her struggle to enter




                                                            were a bottle of champagne with the caption, “When they be giving me the fancy [water].” The
                                                            video has since inspired a host of memes, and the song she used in the OG vid (“Lifestyle” by
                                                            Rich Gang featuring Young Thug and Rich Homie Quan) has been used in 18.5K videos and
                                                            counting. The TikTok has received over 4.4 million likes and was posted just in time to be
                                                            remembered as one of the best viral moments of 2023.




Document title: Everyone’s Talking About This OG Pimple Patch
Capture URL: https://www.bustle.com/beauty/everyones-talking-about-this-og-pimple-patch
Capture timestamp (UTC): Fri, 14 Jun 2024 15:48:54 GMT                                                                                                        Page 4 of 6

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       Bustle                                                                                                                                                   MENU

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                                                                                                                                                     TikTok/@captincroook




                                                                    Time and again, Consani manages to equally bewilder and inspire her followers. “I gotta get
                                                                    like this I think it would be exposure therapy for social anxiety,” @carrigangiles commented on
                                                                    the popular video. “There’s just something about this video I can’t stop watching,” wrote
                                                                    @mylese_spamm. Looks like she’s got the makings of a future TikTok “It Girl” to me.


                                                                    With Fashion Week coming up in February and her dedicated fanbase on TikTok, it’s safe to
                                                                    assume we'll be seeing a lot more of Alex Consani in 2024.




        sos                           Everyone’s Talking
        Beauty




        ~                             About This OG Pimple
                                      Patch — Here's Why




       Written by Deanna Pai
       June 3, 2024                   It’s both effective and gentle.




                                                                    Forget spot treatments. Pimple patches are the go-to zit solution these days, and for good
                                                                    reason: They really do work. But they’re not created equal, with some infused with harsh active
                                                                    ingredients and others that fall off if you sneeze. The number one acne patch brand, Hero


                                                                    innovation stateside that supports a healing environment for clearer-looking skin to everyone,
                                                                    everywhere.




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       Bustle                                                                                                                                                   MENU

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                                                                    Time and again, Consani manages to equally bewilder and inspire her followers. “I gotta get
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                                                                    With Fashion Week coming up in February and her dedicated fanbase on TikTok, it’s safe to
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        so                            Everyone’s Talking
        Beauty




             ee                       About This OG Pimple
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                                                                    reason: They really do work. But they’re not created equal, with some infused with harsh active
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  AWARD-WINNING TOOLS, SERUMS AND MORE EDITOR-TESTED BEAUTY FAVORITES ®


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                    BOOKS




                    21 popular BookTok books and why they went
                    viral
                    Let enthusiastic Booktokers choose your next read.

                             Meet the author who went viral thanks to daughter’s TikTok
                             06:49




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                                                                                                                             Sponsored Stories                                      by Taboola




                                     March 15, 2023, 8:03 PM UTC / Source: TODAY


                                     By Ryan Hudgins

                                     Before perusing bookstore shelves for the book to break your reading
                                                                                                                             SPONSORED LINKS
                                     slump, you may just want to scroll through TikTok first. Turns out all
                                                                                                                             Volvo's New EX90 SUV Is A Leader In It's
                                     the recommendations you need could be right at your fingertips.                         Category - Find Latest Offers



                                     Fittingly called BookTok (short for “Book TikTok”), the subcommunity
                                     of the social media platform is self-described as “the biggest book club
                                     on the planet.”

                                     Enthusiastic readers connect with one another to share book reviews,
                                     reactions and curated lists of recommended must reads.                                  COMMONSEARCHES

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Document title: 21 Popular BookTok Books And Why They Went Viral On TikTok
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Capture timestamp (UTC): Tue, 18 Jun 2024 15:10:16 GMT                                                                                                                                     Page 1 of 21

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                                 of the social media platform is self-described as “the biggest book club                        ~                  De:                    y

                                 on the planet.”                                                                                        i                   =        ae!
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                                 Enthusiastic readers connect with one another to share book reviews,
                                 reactions and curated lists of recommended must reads.                                          COMMONSEARCHES

                                                                                                                                 New Electric Cars Are So Cheap Now (Take A
                                                                                                                                 Look)




                                   These readers say BookTok changed the way they read: 'Friends at your
                                   fingertips’
                                   For these readers, social media has helped them get off their phones and into books.
                                   @   TODAY /   Feb   13, 2023




                                 This niche corner of TikTok, with the hashtag #booktok, has amassed
                                 over 112 billion views. With numbers like that, no surprise it’s a
                                 powerful force within the publishing industry with BookTok darlings
                                 tending to fly off the shelves. It has been credited for helping authors
                                 sell over 20 million books in 2021, according to NPD BookScan data
                                 per the New York Times.

                                 Even Hollywood is taking notice of this BookTok effect with some of
                                 the most popular reads being adapted into movies and TV series, like
                                 “It Ends with Us” by Colleen Hoover and “Daisy Jones & the Six” by
                                 Taylor Jenkins Reid.

                                 Trending page-turning titles range from highly anticipated new
                                 releases to older hidden gems. So, what is BookTok recommending
                                 right now? We rounded up 21 of the most buzz-worthy books on the
                                 social media platform to add to your reading list.

                                 TODAY independently determines what we cover and recommend. When
                                you buy through our links, we may earn a commission. Learn more.


                                 "Song of Achilles' by Madeline Miller




                                                                                    TIMES   BESTSELLER
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                                                          WINNER




                                                                                           MILLER
                                                               MADELINE




                                 "Song of Achilles" is the Iliad like you've never read it before.
                                 Patroclus, in Classics professor Madeline Miller's rendering, is a young
                                 prince who's been exiled from his homeland and befriends the
                                 powerful Achilles. When the two find out Helen of Sparta has been
                                 kidnapped, Achilles joins the heroes of Greece to surround and attack
                                 Troy. And Patroclus feels compelled to join him out of both fear and
                                 love. But as the two embark on their journey, they will be tested by
                                 Fates who will demand a sacrifice.


                                 "Red White and Royal Blue' by Casey
                                 McQuiston




                                                         ew YOR TIMES BESTSELLING AUTHOR OF ONELAST STOP



                                                      CASEY McQUISTON
                                                                   RED.
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                                 "Red White and Royal Blue" is a bestseller turned TikTok sensation.
                                 When photos of a confrontation at a royal wedding between the first
                                 son of the United States, Alex Claremont-Diaz, and his nemesis, Prince
                                 Henry, heir to the British throne, leak to tabloids, they are forced to do
                                 damage control. That is, stage a fake friendship. But as the two spend
                                 more time together, it becomes harder to deny that there is a
                                 connection between them. And now, as his mother enters a
                                 presidential re-election campaign, Alex finds himself in a secret
                                 relationship that will impact not only his country, but another, if it's
                                 unveiled.


                                 'The Night and its Moon' by Piper C.J.




                                                                PIPER CJ




                                 The first book in a four-part series, which touches on subjects such as
                                 race, abuse and LGBTQ+, "The Night and its Moon" has BookTok
                                 ahsorhed in a fantasv that feels sa real. OQrnhans Nax and Amaris have




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                                 The first book in a four-part series, which touches on subjects such as
                                 race, abuse and LGBTQ+, "The Night and its Moon" has BookTok
                                 absorbed in a fantasy that feels so real. Orphans Nox and Amaris have
                                 just been separated. They're just now, for the first time, life outside of
                                 an orphanage. Their journeys take them to brothels and to mountains,
                                 past foes and assassins and toward a war between humans and
                                 magical creatures.


                                 'A Court of Thorns and Roses' by Sarah
                                 Maas




                                 Slaughtering a wolf is not a big deal for Feyre. In fact, the 19-year-old
                                 huntress thinks nothing of it. But after killing one in the woods one
                                 day, the mortal is captured by a creature who demands retribution for
                                 her actions. Feyre is taken to a magical land and realizes the beast,
                                 Tamlin, is a faerie who used to rule her world. And as she spends more
                                 time in her new home, she begins to discover feelings for Tamlin and
                                 uncover the truth about his world. But trouble looms ahead, as a
                                 wicked shadow grows in the land and Feyre has to find a way to stop
                                 it. This fantasy read is the first of a five-part series that has
                                 transcended the bookish realm and is being adapted as a TV series on
                                 Hulu.


                                 "Someone Else’s Shoes' by Jojo Moyes


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                                 it. This fantasy read is the first of a five-part series that has
                                 transcended the bookish realm and is being adapted as a TV series on
                                 Hulu.


                                 "Someone Else’s Shoes' by Jojo Moyes




                                 Imagine walking in another person’s shoes, literally. Two women
                                 accidentally swap bags at a London gym, leaving them both not only
                                 in possession of new shoes but also a different reality. Sam Kemp is
                                 struggling to keep her family afloat but when she suddenly sports six-
                                 inch high red crocodile Christian Louboutins, she begins to exude a
                                 newfound confidence. And while globetrotting Nisha Cantor is in the
                                 midst of the bag-switching chaos, her life is upended when her
                                 husband cuts her off financially. Despite the differing adversities the
                                 two women face, they are tied together through their shoes. It's a
                                 lighthearted book but moving book about the mix-ups and
                                 opportunities brought on by colliding with a stranger.


                                 “Stone Maidens” by Lloyd Devereux
                                 Richards




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                                 This mystery novel published in 2012 just skyrocketed onto the
                                 bestseller list when the author’s daughter posted a TikTok about her
                                 dad’s modestly selling book.

                                 As the chief forensic anthropologist for the FBI Chicago field office,
                                 Christine Prusik has seen her fair share of creepy cases. But her newest
                                 assignment seems to top them all. A serial killer is strangling young
                                 women and leaving their lifeless bodies in southern Indiana ravines
                                 with a curious calling card of carved stone figurines. And even more
                                 peculiar, the figurines are replicas of the spirit stones found among the
                                 primitive tribe in Papua New Guinea that Christine narrowly escaped
                                 while doing field research a decade prior. Now she has to determine if
                                 this haunting connection to her past is just a coincidence or is there
                                 more at play.


                                 'The Inheritance Games' by Jennifer
                                 Lynn Barnes




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                                                                         LYNN     BARNES
                                                             JENNIFER




                                 For Avery Grambs, current plans are simply to survive high school.
                                 Then, the unexpected happens and she becomes heir to an enormous
                                 fortune. Billionaire Tobias Hawthorne leaves Avery all his money —
                                 only she has no clue who he is and why she needs to move into his
                                 former home to receive the inheritance. When she arrives at
                                 Hawthorne House, occupied by Tobias’ family whom he just excluded
                                 from his will, she gets caught in a world of wealth and privilege with
                                 danger around every turn. And the longer Avery stays, the more
                                 certain she becomes that the inheritance and house are clues to
                                 something that she’ll have to solve in order to just survive. The book,
                                 with Knives Out vibes, has two other titles in the series with a fourth
                                 expected later this year.


                                 'They Both Die at the End' by Adam
                                 Silvera




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                                                              ADAM SILVERA
                                                                  he #1 New York Times besteeiier BY




                                 For Mateo Torrez and Rufus Emeterio, the hypothetical question of
                                 what would you do if you only had 24 hours left to live is more than
                                 something to casually consider, it is their reality. On a day in
                                 September, shortly after midnight, both teenage boys receive a call
                                 from the futuristic Death-Cast notifying them of their impending
                                 doom. Mateo and Rufus are each looking for a friend to spend their
                                 End Day with and find one another through an app called Last Friend.
                                 The two strangers team up for one final hurrah, experiencing life in a
                                 way they never have, before going their separate ways forever. The
                                 prequel to this 2017 book, “The First to Die at the End,” was released
                                 last October — and has left BookTokers in tears, too.


                                 "Mexican Gothic' by Silvia Moreno-
                                 Garcia




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                                 In the 1950s, glamorous débutante Noemi Taboada heads to the
                                 Mexican countryside after her father receives an ominous letter from
                                 her newlywed cousin begging for someone to save her from
                                 mysterious doom. Arriving at High Place, where her cousin now lives,
                                 Noemi uncovers secrets behind the walls of the decaying mansion. Yet
                                 she is also drawn to the seductive world of the house, which makes it
                                 hard for her to leave High Place behind. This suspenseful read, which
                                 offers commentary on racism, generational trauma and domestic
                                 abuse, has BookTokers obsessed.


                                 'Off the Deep End' by Lucinda Berry




                                 Jules Hart’s idyllic life is shattered when she swerves to avoid hitting a
                                 deer in the road and her car, along with her son and his friend,
                                 plunges into an icy lake. The therapist turned stay-at-home mom can
                                 only manage to save one of the teenage boys from drowning in the
                                 frigid murky water, and it’s not her son. Ten months after the
                                 accident, Jules is still reeling from the death of her child and grappling
                                 with the fact that she inadvertently saved the wrong boy. But then the
                                 boy suddenly and inexplicably vanishes, and Jules is now taking
                                 center stage in a police investigation. The author, a former clinical
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                                 frigid murky water, and it’s not her son. Ten months after the
                                 accident, Jules is still reeling from the death of her child and grappling
                                 with the fact that she inadvertently saved the wrong boy. But then the
                                 boy suddenly and inexplicably vanishes, and Jules is now taking
                                 center stage in a police investigation. The author, a former clinical
                                 psychologist herself, has captivated BookTok with her ability to
                                 capture profound grief in a realistic way.


                                 'Verity' by Colleen Hoover




                                 Lowen Ashleigh is a struggling writer who has just landed the
                                 opportunity of a lifetime. She is hired by Jeremy Crawford, the
                                 husband of a best-selling author, to complete the remaining books of
                                 his injured wife’s successful series. In the Crawford home, Lowen
                                 uncovers an unfinished autobiography that was never intended to be
                                 read — and contains terrible secrets about the family’s past. As she
                                 begins to have feelings for the author’s husband, Lowen struggles to
                                 determine if she should share the autobiography with him as it’s
                                 bound to forever alter his relationship with his wife. This sensational
                                 psychological thriller, penned by the same author as “It Ends with
                                 Us,” has led to debate between BookTokers over its ambiguous ending.


                                 'Things We Never Got Over' by Lucy
                                 Score




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                                 "Things We Never Got Over' by Lucy
                                 Score




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                                                          LUCY SCORE



                                 Lucy Score's steamy romance novels are popular on BookTok for their
                                 plot and, uh, other things. Check out the three books in Score's
                                 Knockemout series: "Things We Never Got Over," "Things We Hide
                                 From the Light" and "Things We Left Behind," all following bad boys
                                 whose hearts of gold are there, even if they're hard to find at hfirst.


                                 "| Have Some Questions for You' by
                                 Rebecca Makkai




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                                 Successful film professor and podcaster Bodie Kane is content
                                 forgetting her past — not the least of which includes the murder of
                                 her senior year roommate, Thalia Keith, at a boarding school in New
                                 Hampshire. But when the Granby School invites her to return to teach
                                 a course, Bodie is forced to confront the things that happened in 1995
                                 that she has been trying so hard to forget. Bodie starts to question if
                                 the conviction of the school athletic trainer, Omar Evans, was a rush to
                                 judgment and if Thalia’s real killer could still be out there. And what if
                                 she has unknowingly held a clue all along that might have held the
                                 key to solving the case. The literary mystery unspools like the podcast
                                 series Serial, addressing themes such as racism, classism, sexism and
                                 memory.




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                                                                                                       QUESTIONS
                                                                                                                 ie”


                                                                                                       REBECCA
                                                                                                       MAKKAI


                                   Rebecca Makkai wrote ‘I Have Some Questions for You.’ We                    have some
                                   questions for her
                                   The novel tackles society's obsession with true crime.
                                   @   TODAY /   Feb   21, 2023




                                 “The Shadow of Perseus” by Claire
                                 Heywood




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                                 The story of Greek mythological hero, Perseus, is told through the
                                 voices of three women who are sidelined in the traditional version: His
                                 mother, Danae; his temptress, Medusa; and his wife, Andromeda. This
                                 all-female mythological reinterpretation takes Perseus down from his
                                 heroic pedestal, revealing him to be a man obsessed with his own
                                 destiny, not good.


                                 "Dark Matter' by Blake Crouch




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                                 Jason Dessen is an ordinary college physics professor who lives with
                                 his family in Chicago. Everything in his life seems predictable until a
                                 masked abductor knocks him unconscious. When he awakens, he
                                 finds himself strapped to a gurney and surrounded by unfamiliar
                                 people in hazmat suits. He is greeted with, “Welcome back, my
                                 friend,” only Jason has no idea who the man is smiling down at him.
                                 In fact, everything seems different. He has a different wife, his son has
                                 never been born and he is now a celebrated genius who has achieved
                                 something remarkable. As Jason tries to find a way to return to his
                                 family, he has to confront how far he will go to reclaim his old life.
                                 This science-fiction thriller has captivated BookTok readers who
                                 wonder what their lives would look like if they'd made different
                                 choices.


                                 "Big Swiss' by Jen Beagin




                                                           Jen Beagin



                                 Greta spends her time transcribing therapy sessions for a sex coach.




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                                 Greta spends her time transcribing therapy sessions for a sex coach.
                                 She becomes fascinated with the newest client, a repressed married
                                 woman whom she refers to as Big Swiss since she’s tall, stoic and
                                 originally from Switzerland. Greta is especially intrigued by Big Swiss’
                                 refreshing attitude surrounding her trauma since they both have a
                                 dark past. When the pair accidentally cross paths at a dog park and
                                 Greta recognizes Big Swiss’ voice, she introduces herself with a fake
                                 name. As the two begin a relationship, Greta will go to any length to
                                 maintain the connection. This contemporary fiction novel tackles
                                 issues surrounding mental health and infidelity.


                                 "Pineapple Street' by Jenny Jackson




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                                 Three women, one Brooklyn family ... and lots of money. Darley, the
                                 eldest in the family, gave up her job and her inheritance for
                                 motherhood. Sasha, who married into the well-connected family,
                                 always feels like an outsider. And the youngest of the family,
                                 Georgiana, is in love with someone she ultimately can’t have. With
                                 shifting narrators, this highly anticipated debut novel by Jenny
                                 Jackson gives readers a glimpse of New York’s elite.


                                 ‘Central Places' by Delia Cai



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                                 shifting narrators, this highly anticipated debut novel by Jenny
                                 Jackson gives readers a glimpse of New York’s elite.


                                 ‘Central Places' by Delia Cai




                                 Audrey Zhou has traded the small Illinois town she grew up in for New
                                 York City. Far from Hickory Grove, she’s now living her best life with
                                 an impressive high paying job and a faultless fiancé, Ben. In order to
                                 move forward in Manhattan, she has to confront unresolved issues
                                 that she left behind. Returning home is complicated. Her relationship
                                 with her mother is strained and she feels less connected to the friends
                                 she left behind. And there is a lingering crush from high school, a laid-
                                 back stoner named Kyle, whom she finds herself inexplicably drawn to
                                 years later. Audrey tries to navigate her past life without jeopardizing
                                 the future she’s worked so hard to create. Along the way, she starts to
                                 question if it’s the new Audrey or the old one that truly brings her
                                 happiness. This character-driven read, which includes interracial
                                 relationships and challenging family dynamics, has BookTokers
                                 hooked.


                                 "Twisted Love' by Ana Huang




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                                 Ava Chen is a free spirit who thinks positively, despite her difficult
                                 past. When her overprotective brother embarks on a year-long trip, he
                                 asks his best friend, Alex Volkov, to look after her. Alex, cloaked in
                                 mystery, is running toward success so he can outrun his past. When
                                 the pair begin to spend more time together, the undeniable chemistry
                                 that develops threatens to destroy them both. The first book in the
                                 “Twisted” series, BookTokers are loving the brother’s best friend and
                                 opposites attract romance trope.


                                 "Georgie, All Along' by Kate Clayborn




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                                 Georgie Mulcahy always puts others first. Endlessly busy as a personal
                                 assistant in Hollywood, she doesn't even have time to realize she puts
                                 everyone else first. When she unexpectedly returns home to her small
                                 town in Virginia, she has to confront the uncomfortable truth. Worse,
                                 Georgie finds her teenage diary which is filled with pages of a dynamic
                                 life and dreams for her future. She decides to use it to get back on track
                                 and teams up with the former town rebel, Levi Fanning, to cross
                                 bucket items off her list. Along the way, they discover that chasing
                                 childhood dreams can unexpectedly lead to currentl happiness.
                                 BookTokers are charmed by these two damaged souls trying to better
                                 their lives.


                                 'A Good Girl’s Guide to Murder' by Holly
                                 Jackson




                                 Pippa Fitz-Amobi selects a topic for her high school senior project that
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                                        Pippa Fitz-Amobi selects a topic for her high school senior project that
                                        the rest of her Connecticut town would otherwise like to forget. Five
                                        years prior, popular high school student Andie Bell was murdered by
                                        her boyfriend, Sal Singh, who then took his own life. And while
                                        everyone in Fairview is convinced the crime has been long solved, Pip
                                        isn’t so sure. As she digs around, her research suggests a trail of secrets
                                        that points to Sal being innocent. But it seems like not everyone is
                                        happy with her newfound discovery and her own safety may now be
                                        threatened. The dark secrets of Fairview don’t end when Pip submits
                                        her final project, the sequel “Good Girl, Bad Blood” is another favorite
                                        among BookTok.                @a




                                                    Ryan Hudgins
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                                                    the University of Richmond. In her free time, Ryan enjoys reading, running, hiking and surfing.




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        BOOKS / Updated June 17, 2024                       BOOKS / Updated June 14, 2024                                        BOOKS / Updated June 11, 2024              BOOKS / Updated June 6, 202.

        ‘Beach Read’ director Yulin Kuang reveals           6 must-read books for Pride Month,                                   30 books and 25 years later, Elin          The best books to read

        her favorite romance novels                         according to Steven Rowley and Byron                                 Hilderbrand is ready for a vacation        according to John Seal
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